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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

  IN RE:                                           §   CHAPTER 11
                                                   §
  GABRIEL INVESTMENT GROUP, INC.1, ET AL.,         §   BANKRUPTCY NO. 19-52298-RBK
                                                   §
  DEBTORS                                          §   JOINTLY ADMINISTERED

  ______________________________________________________________________________

                      FIRST INTERIM FEE APPLICATION OF
      FOCUS MANAGEMENT GROUP USA, INC., FINANCIAL ADVISOR TO THE
                     DEBTORS AND DEBTORS IN POSSESSION
    FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES FOR THE
           PERIOD FROM OCTOBER 17, 2019 THROUGH JANUARY 31, 2020
  ______________________________________________________________________________

           Pursuant to Sections 330 and 331 of Title 11 (the “Bankruptcy Code”), Rule 2016 of the

  Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), Rule 2016 of the Local Rules

  of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Western

  District of Texas San Antonio Division (the “Local Bankruptcy Rules”), and the Court’s

  Administrative Order Pursuant to §§ 105(a) and 331 Establishing Procedures for Interim

  Compensation and Reimbursement of Expenses of Professionals (the “Administration Order”),

  Focus Management Group USA, Inc. (“Focus”) hereby files this application for an order awarding

  monthly interim allowance of reasonable compensation with respect to the bankruptcy cases of

  Gabriel Investment Group, Inc., et al.,(the” Debtors”), for Financial Advisory services rendered to

  the Debtors and Debtors in Possession in the amount of $147,350.00 together with reimbursement

  for actual and necessary expenses incurred in the amount of $17,417.58 (the “Application”) for




           1
          The Debtors that are jointly administered are Gabriel Investment Group, Inc. [19-52298];
  Don’s & Ben’s, Inc. [19-52299]; Gabriel Holdings, LLC [19-52300]; SA Discount Liquor, Inc.
  [19-52301]; and Gabriel GP, Inc. [19-52301]


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  the period from October 17, 2019 through and including January 31, 2020 (the “Compensation

  Period”). In support of its Application, Focus respectfully represents as follows:

                                        FACTUAL BACKGROUND

     1. On September 27, 2019 (the “Petition Date”), Gabriel Investment Group, Inc. and certain

  affiliated debtors (collectively, the “Debtors”)2 commenced with this Court voluntary cases under

  chapter 11 of the Bankruptcy Code. Pursuant to sections 1107(a) and 1108 of the Bankruptcy

  Code, the Debtors continue to operate their businesses and manage their property as debtors in

  possession. No trustee or examiner has been requested or appointed.

     2. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. sections 157 and

  1334. This is a core proceeding pursuant to 28 U.S.C. section 157(b).

      3. On October 17, 2019 Debtors filed a motion to retain Focus Management Group USA as

  Financial Advisor to the Debtors and Debtors in Possession. (Docket 72).

     4. On October 22, 2019, this Court approved the retention application of Focus Management

  Group USA, Inc. as Financial Advisor to the Debtors and Debtors in Possession nunc pro tunc to

  to June 6, 2010 (Docket #76).

     5. As per the order approving the retention of Focus, the Debtors paid a retainer of $50,000.00

  available to be applied to postpetition services, as approved by the Court, including pursuant to

  any procedures for interim compensation approved by the Court.

     6. A copy of the proposed order granting the relief requested herein is attached as Exhibit A.

                 COMPENSATION AND REIMBURSEMENT OF EXPENSES

         6       Focus submits this Application to the Bankruptcy Court for an allowance of

  reasonable compensation for actual and necessary professional services provided to the Debtors




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  and Debtors in possession as their financial advisor in these cases from October 17, 2019 through

  and including January 31, 2020, and for reimbursement of actual and necessary out-of-pocket

  expenses incurred in representing the Debtors and Debtors in possession during the Compensation

  Period. All included services and costs for which Focus seeks compensation were performed for,

  or on behalf of, the Debtors and Debtors in possession during the Compensation Period.

           7.    By this Application, Focus thus seeks: (a) allowance of compensation in the amount

  of $147,350.00 for financial advisory services rendered during the Compensation Period, and

  allowance of reimbursement in the amount of $17,417.58 for expenses incurred and disbursed

  during the Compensation Period, and (b) payment of compensation in the amount of $29,470.00

  (representing the 20% holdback amount as per the Interim Compensation Order) and

  reimbursement of expenses incurred by Focus during the Compensation Period in the amount of

  $0.00.

           8.    For the Bankruptcy Court's review, a summary containing the names of each Focus

  professional and paraprofessional rendering services to the Debtors and Debtors in possession

  during the Compensation Period, their customary billing rates, the time expended by each

  professional and paraprofessional, and the total value of time incurred by each professional and

  paraprofessional is attached as Exhibit B.

           9.    Exhibit C contains a breakdown of expenses incurred and disbursed by Focus

  during the Compensation Period. Focus has incurred out-of-pocket disbursements during the

  Compensation Period in the amount of $17,417.58. This disbursement sum is broken down into

  categories of charges, including, inter alia, telephone charges, postage and shipping charges,

  lodging charges, travel charges, and meal charges. Focus has not charged or sought reimbursement

  for incoming or outgoing facsimile transmissions.




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         10.      In support of this Application, Exhibit D contains the detailed monthly invoices for

  the Compensation period, sorted by billing project.

                       ANALYSIS AND NARRATIVE DESCRIPTION OF
                       SERVICES RENDERED AND TIME EXPENDED

         11.      Section 330(a) of the Bankruptcy Code provides, in pertinent part, that bankruptcy

  courts award "reasonable compensation for actual, necessary services rendered by the trustee,

  examiner, professional person, or attorney and by any paraprofessional employed by any such

  person."     11 U.S.C. § 330(a)(1)(A).     The professionals requesting compensation from the

  bankruptcy estate bear the burden of demonstrating to the Bankruptcy Court that the services

  performed and fees incurred were reasonable.

         12.      In determining the amount of reasonable compensation to be awarded, the Court

  shall consider, 11 U.S.C. § 330(a)(3), the nature, extent, and the value of such services, taking into

  account all relevant factors, including: (A) the time spent on such services, (B) the rates charged

  for such services, (C) whether the services were necessary to the administration of, or beneficial

  at the time at which the service was rendered toward the completion of, a case under this title, (D)

  whether the services were performed within a reasonable time commensurate with the complexity,

  importance, and nature of the problem, issue, or task addressed, and (E) whether the compensation

  is reasonable, based on the customary compensation charged by comparably skilled practitioners

  in cases other than cases under this title. See 11 U.S.C. § 330(A)-(E).

         13.      With respect to the time and labor expended by Focus in this case, as set forth in

  Exhibit B, during the Compensation Period, Focus rendered professional services in the amount

  of $147,350.00 Focus believes it appropriate to be compensated for the time spent in connection

  with these matters, and sets forth a brief narrative description of the services rendered for or on




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  behalf of the Debtors and Debtors in possession and the time expended, organized by project task

  categories, as follows:

          A.      BUSINESS ANALYSIS

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia: (i) assist in the preparation of cash flow analysis and budgets; (ii)

  review of various schedules prepared by the debtor; (iii) develop weekly and monthly variance

  reports and consolidated reports and (iv) assist in the preparation of pro forma financial projections

  and revised business plan; (v) analyze sales and profitability by store; and (vi) evaluate inventory

  levels and utilization.   Focus seeks compensation for 207.4 hours of reasonable and necessary

  financial advisory fees incurred for Business Analysis during the Compensation Period in the total

  amount of $86,200.00.

          B.      BUSINESS OPERATION

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia, (i) review cash collateral performance reports, (ii) review accounts

  payable schedules, (iii) review rent schedules and other workpapers and (iv) respond to questions

  from counsel and other parties. Focus seeks compensation for 31.0 hours of reasonable and

  necessary financial advisory fees incurred for Business Operations in the total amount of

  $13,405.00.

          C.      CASE ADMINISTRATION

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia, (i) assist Debtors in preparation periodic reporting: and (ii) and assist

  Debtors in the preparation of reports and schedules required by the DIP lender. Focus seeks




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  compensation for 45.1 hours of reasonable and necessary financial advisory fees incurred for Case

  Administration in the total amount of $19,185.00.

          D.      FINANCING

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia, (i) assist the Debtor in preparing a debtor-in-possession proposal, (ii)

  discuss with the Debtor option on exit financing, (iii) prepare and analyze various work papers

  requested or likely to be requested by the existing lender, (vi) assist the Debtor in evaluating the

  feasibility of terms and structures proposed by the existing lender. Focus seeks compensation for

  22.4 hours of reasonable and necessary financial advisory fees incurred for Financing in the total

  amount of $9,570.00.

          E       FEE & EMPLOYMENT APPLICATIONS

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia, (i) compiling, preparing and filing the monthly fee applications for

  compensation with supporting time and expense detail as required by the court. Focus seeks

  compensation for 5.2 hours of reasonable and necessary financial advisory fees incurred for Fee

  & Employment Applications in the total amount of $2,080.00.

          F       ASSET DISPOSTION

          During the Compensation Period, Focus’ services performed in connection with this

  category relate to, inter alia, (i) Review of motions of an asset purchase agreement and analysis of

  a waterfall from said transaction. Focus seeks compensation for 3.3 hours of reasonable and

  necessary financial advisory fees incurred for Fee & Employment Applications in the total amount

  of $1,335.00.




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         G        TRAVEL

         During the Compensation Period, Focus as financial advisor to the Debtors and Debtors

  in possession, traveled to the Company’s locations, and bankruptcy court proceedings. Focus is

  only requesting 50% of the standard billing rates for this time as prescribed by the local rules.

         Focus seeks compensation for 75.00 hours of reasonable and necessary fees at half its

  normal rate for fees incurred for Travel during the Compensation Period in the total amount of

  $15,575.00.

         14.     Focus charged and now requests those fees that are customary in this marketplace

  for similar Chapter 11 cases. Billing rates set forth in Focus's Summary of Professionals Rendering

  Services from Period October 17, 2019 through January 31, 2020 represent customary rates

  routinely billed to the firm's many clients. (See Exhibit B). Moreover, Focus stated in its Retention

  Application and accompanying Affidavit that it would be compensated on an hourly basis, plus

  reimbursement of actual, reasonable and necessary out-of-pocket expenses incurred by the firm.

  The compensation requested does not exceed the reasonable value of the services rendered. Focus'

  hourly rates for work of this nature are set at a level designed to fairly compensate Focus for the

  work of its professionals and to cover fixed and routine overhead expenses.

         15.     This Application covers the period from October 17, 2019 through and including

  January 31, 2020. Although every effort was made to include all fees and expenses from the

  Compensation Period in this Application, some fees and/or expenses from the Compensation

  Period might not be included in this fee application due to delays in processing time and receipt of

  invoices for expenses and/or for preparation of the instant application subsequent to the

  Compensation Period. Accordingly, Focus reserves the right to make further application to the

  Bankruptcy Court for allowance of fees and expenses not included herein.


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         16.     Focus believes that the instant Application and the description of services set forth

  herein of work performed are in compliance with the requirements of Texas Local Rule 2016-2,

  the Administrative Order, and the applicable guidelines and requirements of the Bankruptcy Code,

  Federal Rules of Bankruptcy Procedure, and the Executive Office for the United States Trustee.

         17.     A copy of the Summary of the Application is attached hereto as Exhibit E; this will

  be served on the entire master service list in this case and a separate certificate of service will be

  filed to evidence such service.

         WHEREFORE, Focus respectfully requests (a) allowance of compensation for

  professional services rendered in the amount of $147,350.00 and reimbursement of expenses in

  the amount of $17,417.58 and (b) authorize and direct Debtor to pay any unpaid balance of such

  allowed fees and expenses for the Application Period, including any fees held back in accordance

  with the Interim Compensation Order, in the amount of $29,470.00 (representing the amount of

  the 20% holdback allowance) (c) and granting such other and further relief as appropriate.


  Dated: June 11, 2020                   FOCUS MANAGEMENT GROUP USA, INC.

                                         By:     /s/ Michael Doland
                                                 Michael Doland
                                                 5001 West Lemon Street
                                                 Tampa, FL 33609
                                                 Telephone: (813) 281-0062
                                                 Facsimile: (813) 281-0063
                                                 E-mail: m.doland@focusmg.com

                                                 FINANCIAL ADVISOR TO           THE    DEBTORS     AND
                                                 DEBTORS-IN POSSESSION

                                                 -AND-




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                                             trice@pulmanlaw.com


                                            ATTORNEYS FOR DEBTORS     AND   DEBTORS-
                                            IN-POSSESSIO




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                                    CERTIFICATE OF SERVICE

        I hereby certify that I caused the foregoing document to be filed on June 11, 2020, using
 the Court’s CM/ECF System which caused it to be served upon those parties registered in the
 system as indicated below. Additionally, pursuant to Local Rule 2016(b), a copy of the Fee
 Application Summary was served on the matrix through the U.S. Postal Service, First Class Mail
 by The Noticing Center. A separate certificate of service will be filed demonstrating such service.

 Via email: bpatterson@harneypartners.com             Via CM/ECF: don.stecker@lgbs.com
 William R. Patterson                                 Don Stecker
 Harney Partners                                      Linebarger Goggan et al
 PO Box 50252                                         711 Navarro, Suite 300
 Austin, TX 78763                                     San Antonio, TX 78205

 Via CM/ECF:                                          Via CM/ECF: csmall@dslawpc.com,
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 United States Trustee                                Caroline Newman Small /Sarah Santos
 615 E. Houston, Room 533                             Davis & Santos, P.C.
 San Antonio, TX 78205                                719 S. Flores Street
                                                      San Antonio, Texas 78204
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 brent.mcilwain@hklaw.com;                            Via CM/ECF: mshriro@singerlevick.com
 robert.jones@hklaw.com;                              Michelle Shriro
 Brent R. McIlwain/Brian J. Smith                     Singer & Levick
 Holland & Knight                                     16200 Addison Rd. #140
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 Via CM/ECF: david.wender@alston.com                  San Antonio, Texas 78212-3166
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 Alston & Bird LLP                                    Via CM/ECF:
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                                                      Maurice Wutscher, LLP
 Via CM/ECF: pautry@branscomblaw.com                  23611 Chagrin Blvd., Suite 207
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 Branscomb Law
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 San Antonio, TX 78230


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 bankruptcysa@gmail.com                       John W. Harris
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 Jason B. Binford                             H. Anthony Hervol
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 Office of Texas A.G.                         4414 Centerview Dr #200
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 P. O. Box 12548 MC008
 Austin, Texas 78711-2548




                                              /s/Thomas Rice
                                              Thomas Rice




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                             EXHIBIT A




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

 IN RE:                                                    §            CHAPTER 11
                                                           §
 GABRIEL INVESTMENT GROUP, INC.1, ET AL.,                  §            BANKRUPTCY NO. 19-52298-RBK
                                                           §
 DEBTORS                                                   §            JOINTLY ADMINISTERED


                 ORDER ON FIRST INTERIM APPLICATION FOR ALLOWANCE OF
     FEES AND EXPENSES FOR FOCUS MANAGEMENT GROUP USA, INC., AS FINANCIAL ADVISOR
           TO DEBTORS FOR TIME PERIOD OF OCTOBER 17, 2019 TO JANUARY 31, 2020



          Came on for consideration the First Interim Fee Application of Focus Management Group

 USA, Inc., Financial Advisor to the Debtors and Debtors In Possession for Services Rendered and

 Reimbursement of Expenses for the Period from October 17, 2019 through January 31, 2020
                                    2
 (“First Interim Application”). The Court has considered the First Interim Application and finds

 that the fees and expenses represent reasonable compensation for actual and necessary services,

 and reimbursement for actual, necessary expenses. After considering the pleadings, the Court also

 finds that (i) it has jurisdiction over the matters raised in the First Interim Application pursuant to

 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

 (iii) proper and adequate notice of the First Interim Application has been given and that no other

 or further notice is necessary; (v) all objections to the First Interim Application have been resolved

 by this Order or are overruled in their entirety; and (vi) upon the record herein after due



 1
  The Debtors that are jointly administered are Gabriel Investment Group, Inc. [19-52298]; Don’s & Ben’s, Inc. [19-
 52299]; Gabriel Holdings, LLC [19-52300]; SA Discount Liquor, Inc. [19-52301]; and Gabriel GP, Inc. [19-52301]

 2
   Capitalized terms unless otherwise defined herein shall have the same meaning as ascribed to them in the First
 Interim Application.



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 deliberation thereon good and sufficient cause exists for the granting of the relief as set forth

 herein.

           IT IS THEREFORE ORDERED that the First Interim Application pursuant to 11 U.S.C.

 §331 is hereby GRANTED;

           IT IS FURTHER ORDERED that Focus Management Group USA, Inc. (“Focus”) is

 hereby awarded and allowed all interim fees in the amount of $147,350.00 and all expenses in the

 amount of $17,417.58 for the allowance of a total interim award of $164,767.58, as an

 administrative expense of the bankruptcy estate.

           IT IS FURTHER ORDERED that the Debtors are authorized to pay Focus the allowed

 amount of interim fees and expenses totaling $29,470.00.

           IT IS FURTHER ORDERED that this Court shall retain jurisdiction to hear and determine

 all matters arising from the implementation of this Order.

                                               ###


 Submitted by:
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 ATTORNEYS FOR DEBTORS




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                            EXHIBIT B




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             SUMMARY OF TIME AND HOURLY RATES CHARGED BY
          FOCUS MANAGEMENT GROUP USA, INC. FOR THE PERIOD FROM
                 OCTOBER 17, 2019 THROUGH JANUARY 31, 2020


         Name of                Position of the          Hourly        Total          Total
        Professional              Applicant           Billing Rate     Billed      Compensation
          Person                                       (including      Hours
                                                        changes)
  Juanita Schwartzkopf     Senior Managing           $500.00             16.50          $8,250.00
                           Director
  Vlad Altmark             Managing Director         $450.00             87.30        $39,285.00

  Stanley Grabish          Senior Consultant         $400.00            205.40        $82,160.00

  Michael Doland           Chief Operating Officer   $400.00              5.20          $2,080.00

  Travel Time (50%)
  Vlad Altmark-Travel                                $225.00             23.00         $5,175.00
  Stanley Grabish-Travel                             $200.00             52.00        $10,400.00

  Grand Total:                                                           389.4       $147,350.00
  Blended Rate:                                                                          $378.40



         COMPENSATION BY PROJECT SUMMARY FOR THE PERIOD FROM
                OCTOBER 17, 2019 THROUGH JANUARY 31, 2020


                  Task Description                   Total Billed           Total
                                                       Hours             Compensation

  Business Analysis                                            207.4              $86,200.00
  Business Operations                                           31.0              $13,405.00
  Case Administration                                           45.1              $19,185.00
  Financing                                                     22.4               $9,570.00
  Asset Disposition                                              3.3               $1,335.00
  Fee/Employment Applications                                    5.2               $2,080.00
  Travel                                                        75.0              $15,575.00
  Grand Total:                                                 389.4             $147,350.00




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                            EXHIBIT C




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                   EXPENSE SUMMARY FOR THE PERIOD FROM
                   OCTOBER 17, 2019 THROUGH JANUARY 31, 2020

        Expense Category            Service Provider              Total
                                     (if applicable)             Expenses
  Lodging                                                             $4,901.81
  Meals                                                               $1,701.55
  Miscellaneous                                                           $125.00
  Travel                                                             $10,240.22
  Communications                                                          $449.00
  TOTAL                                                              $17,417.58




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                            EXHIBIT D




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                                                                                           CORPORATE HEADQUARTERS
                                                                                                    5001 W. Lemon St.
                                                                                                 Tampa, FL 33609-1103
                                                                                                        (813) 281-0062
                                                                                                    Fax (813) 281-0063
                                                                                                     www.focusmg.com




 February 10, 2020                                                                   Invoice 2020-40990


 Gabriel Investment Group, Inc. ET AL                                                Case No. 19-52298-RBK
 10903 Gabriel’s Place
 San Antonio, TX 78217



   STATEMENT OF FEES AND EXPENSES OF FOCUS MANAGEMENT GROUP USA
  INC. FINANCIAL ADVISORS TO THE DEBTORS AND DEBTORS-IN-POSSESSION,
            FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
             FROM JANUARY 1, 2020 THROUGH JANUARY 31, 2020



 Period for which compensation and
 reimbursement is sought                                         January 1, 2020 to January 31, 2020

 Amount of Compensation
 actual, reasonable and necessary:                               $ 32,890.00

 Amount of Expense Reimbursement
 actual, reasonable and necessary:                               $ 1,599.15

 Total Actual Fees and Expenses                                  $ 34,489.15


 Total Due                                      $ 27,911.15
 (Representing 80% of Fees and 100% of Expense)




        • Due Diligence Reviews • Crisis Management • Operations Integration • Asset Recovery • Interim Management
            • Bank & Creditor Negotiations • Bankruptcies & Receiverships • Turnaround & Workout Management •
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                                                                                                          (813) 281-0062
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                   SUMMARY OF PROFESSIONALS RENDERING SERVICES
                    FROM JANUARY 1, 2020 THROUGH JANUARY 31, 2020

                                                                     Hours
          Consultants                      Position                                Hourly Rate                Total
                                                                     Billed

  Juanita Schwartzkopf          Senior Managing Director                   6.0            $500.00                $3,000.00
  Vlad Altmark                  Managing Director                          2.6            $450.00                $1,170.00
  Stanley Grabish               Senior Consultant                         67.1            $400.00               $26,840.00
  Michael Doland                Chief Operating Officer                    1.2            $400.00                 $480.00
  Travel-V Altmark              Travel 50%                                 0.0            $225.00                    $0.00
  Travel-S Grabish              Travel 50$                                 7.0            $200.00                $1,400.00

  Consultant Totals                                                      83.90                                  $32,890.00




                                              EXPENSE SUMMARY

          Expense Category                              Service Provider                                Total
                                                         (if applicable)
                                                                                                       Expenses
 Hotel                                                                                                            $353.58
 Meals                                                                                                            $154.81
 Miscellaneous                                                                                                         $0.00
 Travel                                                                                                           $959.11
 Communications                                                                                                   $131.65
 TOTAL                                                                                                          $1,599.15




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 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
 DEBTORS-IN-POSSESSION - DETAIL OF PROFESSIONALS RENDERING SERVICES FROM
                  JANUARY 1, 2020 THROUGH JANUARY 31, 2020

  Categories           Date                Name            Rate       Hours       Fees                    Description
  Business Analysis    1/2/2020     Grabish, Stan         $400.00       0.30      $120.00   Distribution of memo to Lender,
                                                                                            Company, and counsel for bank and
                                                                                            Company, and Focus
  Business Analysis    1/2/2020     Grabish, Stan         $400.00       1.50      $600.00   Updating of the Gabriel's weekly
                                                                                            memo to incorporate edits on post-
                                                                                            petition AP, formatting and milestone
                                                                                            deliverables
  Business Analysis    1/3/2020     Grabish, Stan         $400.00       0.40      $160.00   Call with Lender to discuss status of
                                                                                            milestones
  Business Analysis    1/3/2020     Grabish, Stan         $400.00       0.70      $280.00   Conference call with Lender, Company,
                                                                                            bank and Company counsel.
  Business Analysis    1/6/2020     Grabish, Stan         $400.00       0.50      $200.00   Review of the Riverbend initial
                                                                                            assessment
  Business Analysis    1/6/2020     Grabish, Stan         $400.00       0.50      $200.00   Call with Lender, Riverbend and the
                                                                                            Company to discuss the initial
                                                                                            assessment provided by Riverbend
  Business Analysis    1/6/2020     Grabish, Stan         $400.00       0.40      $160.00   Outlining the major points from the
                                                                                            conference call between Lender,
                                                                                            Riverbend and the Company for
                                                                                            Juanita Schwartzkopf and Vlad Altmark
                                                                                            of Focus
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       1.50      $600.00   Review various documents and
                                                                                            activities on behalf of the Company
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       2.00      $800.00   Modifying the forecasts for the new
                                                                                            debt structure requested by CFO
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       0.80      $320.00   Visit to the Company's store 60 and
                                                                                            store 9 to assess current inventory
                                                                                            positions and store look.
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       0.30      $120.00   Outlining the new items (cash and A/P)
                                                                                            that will be included in the weekly
                                                                                            memo for Juanita Schwartzkopf and
                                                                                            Vlad Altmark
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       0.30      $120.00   Conversing with Dave Seiden of Great
                                                                                            American about financing need for
                                                                                            Company as part of exit from
                                                                                            bankruptcy
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       0.20       $80.00   Request to David Seiden of Great
                                                                                            American to get other lenders that may
                                                                                            do exit financing
  Business Analysis    1/7/2020     Grabish, Stan         $400.00       0.60      $240.00   Outlining items that are needed to
                                                                                            complete the weekly memo to Dave
                                                                                            Fyffe, CFO of the Company.
  Business Analysis    1/8/2020     Grabish, Stan         $400.00       3.50    $1,400.00   Meetings with Riverbend Investment
                                                                                            Bank who had been onsite at Gabriel's
                                                                                            as part of information gathering
  Business Analysis    1/8/2020     Grabish, Stan         $400.00       2.00      $800.00   Creation of weekly memo for Gabriel's
                                                                                            for conference call on Thursday




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  Business Analysis    1/8/2020     Grabish, Stan         $400.00       1.50      $600.00   Review of the Company's Accounts
                                                                                            Payable files to determine amount of
                                                                                            post-petition Accounts Payable.
  Business Analysis    1/8/2020     Grabish, Stan         $400.00       0.40      $160.00   Review of corporate expenses from
                                                                                            2020 budget for CFO comment
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       0.70      $280.00   Call with Great American to discuss the
                                                                                            liquidation of Store 60 and potentially
                                                                                            others.
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       0.50      $200.00   Weekly call with Lender, the Company,
                                                                                            Riverbend, and bank and Company
                                                                                            counsel
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       0.30      $120.00   Providing the memo and variance
                                                                                            reports to conference call attendees:
                                                                                            bank, counsels, Riverbend, Focus and
                                                                                            Company
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       0.30      $120.00   Providing update on whether
                                                                                            Stephen's has provided their
                                                                                            engagement letter
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       1.50      $600.00   Update of the liquidation analysis since
                                                                                            it was referenced in Riverbend report
  Business Analysis    1/9/2020     Grabish, Stan         $400.00       0.50      $200.00   Call with Great American and CFO to
                                                                                            discuss liquidation proposal
  Business Analysis    1/10/2020    Grabish, Stan         $400.00       1.00      $400.00   Updating the model for Cindy Gabriel
                                                                                            to incorporate go-forward stores and
                                                                                            also outline the corporate detail going
                                                                                            into the model.
  Business Analysis    1/10/2020    Grabish, Stan         $400.00       0.80      $320.00   Calls with Cindy Gabriel and Company
                                                                                            counsel to discuss the 2020 forecast.
  Business Analysis    1/10/2020    Grabish, Stan         $400.00       0.20       $80.00   Outlining to Focus management about
                                                                                            being offsite next week after Company
                                                                                            request.
  Business Analysis    1/10/2020    Grabish, Stan         $400.00       0.50      $200.00   Call with John ONeill of Riverbend to
                                                                                            discuss operations
  Business Analysis    1/13/2020    Grabish, Stan         $400.00       0.20       $80.00   Follow up with CFO on initiating
                                                                                            discussions with LiquidAP
  Business Analysis    1/13/2020    Grabish, Stan         $400.00       0.20       $80.00   Email to Ryan Mulcunny of Great
                                                                                            American on status of due diligence
  Business Analysis    1/13/2020    Grabish, Stan         $400.00       0.20       $80.00   Email out to CFO to discuss 60
                                                                                            liquidation model
  Business Analysis    1/14/2020    Grabish, Stan         $400.00       0.40      $160.00   Outlining to Cindy Gabriel, CEO of
                                                                                            Company, each of items discussed with
                                                                                            CFO. Items include LiquidAP and Great
                                                                                            American proposals and the model for
                                                                                            the 60 store liquidation

  Business Analysis    1/14/2020    Grabish, Stan         $400.00       0.40      $160.00   Outlining items needed from CFO to
                                                                                            complete the weekly memo
  Business Analysis    1/14/2020    Grabish, Stan         $400.00       2.00      $800.00   Creation of a store 60 liquidation
                                                                                            model for CFO
  Business Analysis    1/14/2020    Grabish, Stan         $400.00       0.30      $120.00   Reaching out to Bill Melville of
                                                                                            LiquidAP to get a proposal to liquidate
                                                                                            store 60
  Business Analysis    1/14/2020    Grabish, Stan         $400.00       0.30      $120.00   Identifying the items requested by
                                                                                            Great American needed to pull
                                                                                            together a proposal
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       0.50      $200.00   Review of the weekly variance

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                                                                                            reporting
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       0.30      $120.00   Review of the cash flow forecast
                                                                                            provided by Dave Fyffe
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       0.30      $120.00   Providing information sought by Great
                                                                                            American and Liquid AP
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       0.30      $120.00   Follow up with Dave Fyffe on items
                                                                                            needed for Great American and
                                                                                            LiquidAP
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       0.20       $80.00   Request to Cindy Gabriel on which
                                                                                            stores are being sold to Western
                                                                                            Beverage.
  Business Analysis    1/15/2020    Grabish, Stan         $400.00       1.00      $400.00   Review of the Accounts Payable
                                                                                            reports to determine amount that is
                                                                                            post-petition
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.20       $80.00   Providing trended inventory analysis to
                                                                                            Vlad Altmark and Juanita Schwartzkopf
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.30      $120.00   Providing the analysis done by Great
                                                                                            American to the Company
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.20       $80.00   Email correspondence with the
                                                                                            associate counsel of Great American
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.40      $160.00   Updating weekly memo for more detail
                                                                                            on milestones.
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.20       $80.00   Providing update to Dave Fyffe and
                                                                                            Cindy Gabriel the status of Great
                                                                                            American proposal
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       1.00      $400.00   Creating a trended inventory analysis
                                                                                            by store for the past three weeks.
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.30      $120.00   Organizing and sending out the memo
                                                                                            and attachments for weekly call with
                                                                                            Lender, the Company and counsels
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.50      $200.00   Call to discuss the proposed terms of
                                                                                            the extension of the cash collateral
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.30      $120.00   Call with Cindy Gabriel to discuss
                                                                                            weekly memo milestones
  Business Analysis    1/16/2020    Grabish, Stan         $400.00       0.60      $240.00   Call with Great American to discuss the
                                                                                            terms of their engagement
  Business Analysis    1/18/2020    Grabish, Stan         $400.00       1.00      $400.00   Review of the weekly sales by store
                                                                                            schedules to provide analysis on what
                                                                                            Lender is looking for in terms of
                                                                                            paydown with extended cash collateral
                                                                                            order
  Business Analysis    1/20/2020    Grabish, Stan         $400.00       0.30      $120.00   Review of the proposal from LiquidAP
  Business Analysis    1/20/2020    Grabish, Stan         $400.00       1.50      $600.00   Creating schedule that trends the
                                                                                            Company's inventory with the weeks
                                                                                            sales at retail and cost
  Business Analysis    1/20/2020    Grabish, Stan         $400.00       0.60      $240.00   Reviewing the 2020 forecasted EBITDA
                                                                                            against the proposed capital structure
                                                                                            in the reorganization
  Business Analysis    1/20/2020    Grabish, Stan         $400.00       1.50      $600.00   Completion of trended inventory
                                                                                            report by week
  Business Analysis    1/20/2020    Grabish, Stan         $400.00       0.70      $280.00   Reviewing the Company's 2020
                                                                                            corporate expenses
  Business Analysis    1/21/2020    Grabish, Stan         $400.00       0.40      $160.00   Request to CFO of items needs for
                                                                                            weekly memo


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  Business Analysis    1/21/2020    Grabish, Stan         $400.00       0.50      $200.00   Review of the draft cash collateral
                                                                                            budget provided by the CFO
  Business Analysis    1/21/2020    Grabish, Stan         $400.00       1.20      $480.00   comparison of the liquidap and great
                                                                                            American proposals
  Business Analysis    1/21/2020    Grabish, Stan         $400.00       0.50      $200.00   Review of the proposed terms in the
                                                                                            extension of the cash collateral order.
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.30      $120.00   email outlining stores being considered
                                                                                            for closure
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.60      $240.00   Conference call going through
                                                                                            proposed terms in updated cash
                                                                                            collateral order
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.30      $120.00   Emails to bk counsel outlining request
                                                                                            to follow up with both LiquidAP and
                                                                                            Great American
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.40      $160.00   Review of the proposed updated cash
                                                                                            collateral budget for 1/23/2020
                                                                                            hearing
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.30      $120.00   Review of draft proposed language for
                                                                                            adequate protection provision in new
                                                                                            order
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.60      $240.00   Conference call with Company and
                                                                                            counsel to discuss adequate protection
                                                                                            provisions
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.70      $280.00   Completion of tables in the report
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.40      $160.00   Review of the weekly variance
                                                                                            reporting
  Business Analysis    1/22/2020    Grabish, Stan         $400.00       0.70      $280.00   Creation of post-petition listing of
                                                                                            payables from excel payable files
                                                                                            provided by Company
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.20       $80.00   Call with Cindy Gabriel to discuss delay
                                                                                            of conference call due to creditor
                                                                                            objections at hearing
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.20       $80.00   Distribution of memo and variance
                                                                                            reporting to weekly conference call
                                                                                            attendees (Riverbend, Focus,
                                                                                            Company, Pullman)
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.50      $200.00   Weekly conference call attendees
                                                                                            (Riverbend, Focus, Company, Pullman,
                                                                                            Lender)
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.30      $120.00   Update of memo for sales tax variance
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.30      $120.00   Outlining the $25,000 of post payables
                                                                                            that relates to Johnny Gabriel Sr to CFO
                                                                                            and CEO
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.40      $160.00   Review of the lease schedule that is
                                                                                            part of milestone reporting
  Business Analysis    1/23/2020    Grabish, Stan         $400.00       0.30      $120.00   Review of credit objections in cash
                                                                                            collateral order.
  Business Analysis    1/24/2020    Grabish, Stan         $400.00       0.30      $120.00   Call with Great American to discuss
                                                                                            status of liquidation proposal
  Business Analysis    1/24/2020    Grabish, Stan         $400.00       0.20       $80.00   Email follow up with Tom Rice of
                                                                                            Pullman if he had opportunity to
                                                                                            connect with liquidators




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  Business Analysis    1/24/2020     Grabish, Stan            $400.00    0.30     $120.00    Email to CFO outlining the additional
                                                                                             potential requests of the liquidators
                                                                                             based on the terms in the proposed
                                                                                             cash collateral hearing
  Business Analysis    1/24/2020     Grabish, Stan            $400.00    0.30     $120.00    Call with LiquidAP to discuss status of
                                                                                             proposal
  Business Analysis    1/26/2020     Grabish, Stan            $400.00    0.20      $80.00    Email to Rob Levy concerning
                                                                                             availability to discuss liquidation
                                                                                             proposal
  Business Analysis    1/27/2020     Grabish, Stan            $400.00    0.30     $120.00    Outlining liquidator contacts for Tom
                                                                                             Rice in email so he can call and address
                                                                                             their contract concerns in a bankruptcy
  Business Analysis    1/27/2020     Grabish, Stan            $400.00    0.50     $200.00    Call with Rob Levy to discuss Gabriel's
                                                                                             liquidation scope
  Business Analysis    1/28/2020     Grabish, Stan            $400.00    0.30     $120.00    Outlining the items needed to
                                                                                             complete the weekly memo to Dave
                                                                                             Fyffe
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    1.20     $480.00    Completion of tables for weekly report:
                                                                                             (I) inventory declines,(ii) store 60
                                                                                             liquidation
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    0.70     $280.00    Completion of Accounts Payable
                                                                                             analysis to remove the pre-petition
                                                                                             payables from the report
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    0.40     $160.00    Review of the Company's weekly
                                                                                             variance reporting
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    0.20      $80.00    Email to Great American about status
                                                                                             of bk counsel reaching out to them on
                                                                                             liquidation proposal
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    2.00     $800.00    Drafting of weekly memo for
                                                                                             conference call
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    0.20      $80.00    Inquiry to Tom Rice if there is a draft
                                                                                             cash collateral order to review.
  Business Analysis    1/29/2020     Grabish, Stan            $400.00    0.20      $80.00    Reaching out to LiquidAP to let them
                                                                                             know bk counsel would contact them
                                                                                             and address contract concerns
  Business Analysis    1/30/2020     Grabish, Stan            $400.00    0.30     $120.00    Inquiry to Company management on
                                                                                             the stores that will not be included in
                                                                                             the potential sale to Bueno Liquor and
                                                                                             Western Bev
  Business Analysis    1/30/2020     Grabish, Stan            $400.00    0.70     $280.00    Weekly call with bank and company
                                                                                             counsel, Lender, the Company and
                                                                                             FMG
  Business Analysis    1/30/2020     Grabish, Stan            $400.00    0.30     $120.00    Call with Cindy Gabriel on status of
                                                                                             building offers and raising funds to do
                                                                                             a reorg
  Business Analysis    1/30/2020     Grabish, Stan            $400.00    0.30     $120.00    Finalization of memo and distribution
                                                                                             to conference call attendees - FMG,
                                                                                             Lender, bank counsel and company
                                                                                             counsel, Riverbend and Gabriel's
                                                                                             management
  Business Analysis    1/31/2020     Grabish, Stan            $400.00    0.20      $80.00    Inquiry to counsel to get copy of
                                                                                             yesterday's hearing documents
                       Total Business Analysis: S Grabish               58.10   $23,240.00
  Business Analysis    1/2/2020       Schwartzkopf, Juanita   $500.00    0.70      $350.00   Review of weekly reporting. Redline of
                                                                                             memo back to Stan. Review of final


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  Business Analysis     1/3/2020      Schwartzkopf, Juanita    $500.00    1.00     $500.00    Prep for and weekly calls.
  Business Analysis     1/6/2020      Schwartzkopf, Juanita    $500.00    0.50     $250.00    Review of Riverbend materials.
  Business Analysis     1/8/2020      Schwartzkopf, Juanita    $500.00    0.50     $250.00    Review of weekly report and redline.
  Business Analysis     1/9/2020      Schwartzkopf, Juanita    $500.00    0.50     $250.00    Weekly update call.
  Business Analysis     1/10/2020     Schwartzkopf, Juanita    $500.00    0.50     $250.00    Cash flow and project review.
  Business Analysis     1/15/2020     Schwartzkopf, Juanita    $500.00    0.30     $150.00    Review of cash collateral points from
                                                                                              Lender.
  Business Analysis     1/16/2020     Schwartzkopf, Juanita    $500.00    0.70     $350.00    Call with the team to discuss the Bank's
                                                                                              cash collateral proposal.
  Business Analysis     1/17/2020     Schwartzkopf, Juanita    $500.00    0.50     $250.00    Weekly update call on cash flow,
                                                                                              liquidation, etc.
  Business Analysis     1/22/2020      Schwartzkopf, Juanita $500.00      0.50      $250.00   Redline of memo.
  Business Analysis     1/23/2020      Schwartzkopf, Juanita $500.00      0.30      $150.00   Status related to the cash collateral.
                        Total Business Analysis: J Schwarzkopf            6.00    $3,000.00
  Business Analysis     1/9/2020       Altmark, Vlad           $450.00    0.50      $225.00   Weekly all hands call with Riverbend,
                                                                                              Lender, Company, counsel and FMG to
                                                                                              review CF performance and ops
                                                                                              discussion.
  Business Analysis     1/9/2020      Altmark, Vlad            $450.00    1.30     $585.00    Review of Wind down analysis and
                                                                                              Riverbend presentation; with emphasis
                                                                                              on possible exit strategy
                        Total Business Analysis: V Altmark                1.80     $810.00
                        Total Business Analysis                          65.90   $27,050.00

  Case Administration   1/10/2020     Grabish, Stan            $400.00    0.30     $120.00    Outlining status of Gabriel's project for
                                                                                              Focus management
  Case Administration   1/13/2020     Grabish, Stan            $400.00    0.30     $120.00    Follow up with CFO on the status of
                                                                                              Focus invoices for October and
                                                                                              November
  Case Administration   1/15/2020     Grabish, Stan            $400.00    2.50    $1,000.00   Completion of the draft weekly memo
  Case Administration   1/16/2020     Grabish, Stan            $400.00    0.30     $120.00    Setting up the conference call for all
                                                                                              attendees to discuss proposed terms
  Case Administration   1/16/2020     Grabish, Stan            $400.00    0.60     $240.00    Weekly conference call with Lender,
                                                                                              Counsels, Focus and the Company
  Case Administration   1/17/2020     Grabish, Stan            $400.00    0.30     $120.00    Providing internal status of Gabriel's
                                                                                              engagement
  Case Administration   1/22/2020     Grabish, Stan            $400.00    0.30     $120.00    Arrangement of call to discuss
                                                                                              proposed terms for extension of cash
                                                                                              collateral
  Case Administration   1/22/2020     Grabish, Stan            $400.00    3.30    $1,320.00   Drafting weekly memo based on new
                                                                                              proposed terms from the cash
                                                                                              collateral order provided by Tom Rice
                                                                                              of Pullman
  Case Administration   1/24/2020     Grabish, Stan            $400.00    0.30     $120.00    Outlining status of project for Focus
                                                                                              management in email
  Case Administration   1/27/2020     Grabish, Stan            $400.00    0.50     $200.00    Completion of weekly billing of activity
  Case Administration   1/31/2020     Grabish, Stan            $400.00    0.30     $120.00    Update on project status to internal
                                                                                              management
                        Total Case Administration: S Grabish              9.00    $3,600.00
  Case Administration   1/8/2020      Altmark, Vlad            $450.00    0.80      $360.00   Review weekly report and provide
                                                                                              feedback on adjustments to write up.
                        Total Case Administration: V Altmark              0.80     $360.00


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                        Total Case Administration                             9.80     $3,960.00

  Fee Application       1/2/2020        Doland, Michael         $400.00       0.80      $320.00    Draft December fee statement w
                                                                                                   supporting detail
  Fee Application       1/3/2020        Doland, Michael         $400.00       0.40      $160.00    Revise December fee statement
                        Total Fee Application: M Doland                       1.20      $480.00

  Travel                1/6/2020        Grabish, Stan           $200.00       3.50       $700.00   Travel to San Antonio from Atlanta
  Travel                1/9/2020        Grabish, Stan           $200.00       3.50       $700.00   Travel from San Antonio to Atlanta
                        Total Travel: S Grabish                               7.00     $1,400.00
                        Total Travel                                          7.00     $1,400.00

                        Total Fees                                          83.90     $32,890.00


 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
            DEBTORS-IN-POSSESSION DETAIL OF EXPENSES FROM
                JANUARY 1, 2020 THROUGH JANUARY 31, 2020

           Expense Type                 Date            Name              Expense      Description
           Lodging                        1/9/2020      Grabish, Stan       $353.58    Three Nights Hotel Stay
                                                         Total Lodging     $353.58


           Meals - Breakfast              1/6/2020      Grabish, Stan       $11.33
           Meals - Dinner               12/16/2020      Grabish, Stan       $48.00     Not included in December fee statement
           Meals - Dinner                 1/7/2020      Grabish, Stan        $9.79
           Meals - Dinner                 1/8/2020      Grabish, Stan       $19.32
           Meals - Lunch                  1/6/2020      Grabish, Stan       $11.45
           Meals - Lunch                  1/7/2020      Grabish, Stan       $32.30     W Dave Fyffe of Gabriel's
           Meals - Lunch                  1/9/2020      Grabish, Stan       $22.62
                                                          Total Meals      $154.81


           Travel-Air Fare                1/6/2020      Grabish, Stan       $689.60    Atlanta to San Antonio
           Travel-Cab/Limo Hire           1/6/2020      Grabish, Stan        $24.00    Home to airport
           Travel-Cab/Limo Hire           1/9/2020      Grabish, Stan        $24.00    Airport to home
           Travel-Car Rental              1/9/2020      Grabish, Stan       $214.48    Four day car rental
           Travel-Fuel for Rental Car     1/9/2020      Grabish, Stan         $7.03    Fuel for Rental Car
                                                          Total Travel     $959.11



                                                          Total Other        $0.00


           Communications                1/16/2020      Admin, Focus        $37.95     Conference Call-253 Combined minutes
           Communications                1/22/2020      Admin, Focus        $23.70     Conference Call - 158 Combined minutes
           Communications                1/10/2020      Grabish, Stan       $35.00     weekly cell phone
           Communications                1/24/2020      Grabish, Stan       $35.00     weekly cell phone
                                                         Total Comms       $131.65



                                                        Total Expenses    $1,599.15


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 January 3, 2020                                                                     Invoice 2019-40853


 Gabriel Investment Group, Inc. ET AL                                                Case No. 19-52298-RBK
 10903 Gabriel’s Place
 San Antonio, TX 78217



   STATEMENT OF FEES AND EXPENSES OF FOCUS MANAGEMENT GROUP USA
  INC. FINANCIAL ADVISORS TO THE DEBTORS AND DEBTORS-IN-POSSESSION,
             FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
            FROM DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019



 Period for which compensation and
 reimbursement is sought                                         December 1, 2019 to December 31, 2019

 Amount of Compensation
 actual, reasonable and necessary:                               $ 29,380.00

 Amount of Expense Reimbursement
 actual, reasonable and necessary:                               $ 3,099.28

 Total Actual Fees and Expenses                                  $ 32,479.28


 Total Due                                      $ 26,603.28
 (Representing 80% of Fees and 100% of Expense)




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                   SUMMARY OF PROFESSIONALS RENDERING SERVICES
                  FROM DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019

                                                                     Hours
          Consultants                      Position                                Hourly Rate                Total
                                                                     Billed

  Juanita Schwartzkopf          Senior Managing Director                   4.4            $500.00                $2,200.00
  Vlad Altmark                  Managing Director                          6.0            $450.00                $2,700.00
  Stanley Grabish               Senior Consultant                         50.2            $400.00               $20,080.00
  Travel-V Altmark              Travel 50%                                 0.0            $225.00                    $0.00
  Travel-S Grabish              Travel 50$                                14.0            $200.00                $2,800.00

  Consultant Totals                                                      74.60                                  $27,780.00




                                              EXPENSE SUMMARY

          Expense Category                              Service Provider                                Total
                                                         (if applicable)
                                                                                                       Expenses
 Hotel                                                                                                            $769.85
 Meals                                                                                                            $401.04
 Miscellaneous                                                                                                         $0.00
 Travel                                                                                                         $1,792.50
 Communications                                                                                                   $135.89
 TOTAL                                                                                                          $3,099.28




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 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
 DEBTORS-IN-POSSESSION - DETAIL OF PROFESSIONALS RENDERING SERVICES FROM
                DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019

  Categories           Date                 Name            Rate       Hours       Fees                       Description
  Business Analysis    12/2/2019     Grabish, Stan         $400.00       0.30      $120.00    Inquiry into the Company on availability
                                                                                              to discuss 2020 forecast
  Business Analysis    12/3/2019     Grabish, Stan         $400.00        0.30     $120.00    Inquiry to Company on when able to
                                                                                              discuss forecast next
  Business Analysis    12/5/2019     Grabish, Stan         $400.00        1.50     $600.00    Modifications made to the budget based
                                                                                              on conversation with CFO conversation
  Business Analysis    12/5/2019     Grabish, Stan         $400.00        0.40     $160.00    Outlining to Company management and
                                                                                              Focus the current draft of budget
  Business Analysis    12/5/2019     Grabish, Stan         $400.00        0.70     $280.00    Call with CFO on budget for 2020
  Business Analysis    12/9/2019     Grabish, Stan         $400.00        0.60     $240.00    Discussion with CFO on status of
                                                                                              projections and other deliverables
  Business Analysis    12/9/2019     Grabish, Stan         $400.00        0.50     $200.00    Review of weekly check disbursements as
                                                                                              part of weekly reporting
  Business Analysis    12/9/2019     Grabish, Stan         $400.00        0.50     $200.00    Review of the Company's monthly check
                                                                                              disbursements for October as part of
                                                                                              monthly reporting
  Business Analysis    12/9/2019     Grabish, Stan         $400.00        1.50     $600.00    Adjustment of 2020 forecast for new
                                                                                              store growth
  Business Analysis    12/10/2019    Grabish, Stan         $400.00        0.40     $160.00    Sending the 2020 projections to lender
  Business Analysis    12/10/2019    Grabish, Stan         $400.00        1.50     $600.00    Review of the Company's cash collateral
                                                                                              order to determine milestone that must
                                                                                              be reported on
  Business Analysis    12/11/2019    Grabish, Stan         $400.00        2.50    $1,000.00   Additional drafting of weekly memo
                                                                                              adding sections on inventory, closure of
                                                                                              stores, and review of CFO comments on
                                                                                              deliverable
  Business Analysis    12/11/2019    Grabish, Stan         $400.00        2.00     $800.00    Review of the Company's variance
                                                                                              reporting - cumulative and current week
  Business Analysis    12/12/2019    Grabish, Stan         $400.00        2.50    $1,000.00   Creation of lease schedule after sitting
                                                                                              with Cindy Gabriel of Gabriel's
  Business Analysis    12/12/2019    Grabish, Stan         $400.00        0.70     $280.00    Call with Company, counsel and bank to
                                                                                              discuss weekly memo
  Business Analysis    12/12/2019    Grabish, Stan         $400.00        0.40     $160.00    Review of weekly memo with Cindy
                                                                                              Gabriel
  Business Analysis    12/12/2019    Grabish, Stan         $400.00        0.40     $160.00    Call with Focus and Company to discuss
                                                                                              status of deliverables
  Business Analysis    12/12/2019    Grabish, Stan         $400.00        3.00    $1,200.00   Review various documents and activities
                                                                                              on behalf of the Company
  Business Analysis    12/13/2019    Grabish, Stan         $400.00        0.30     $120.00    Update of lease schedule to clarify which
                                                                                              stores are slated to be closed
  Business Analysis    12/16/2019    Grabish, Stan         $400.00        0.30     $120.00    Review of the draft 2020 forecast with
                                                                                              Cindy Gabriel
  Business Analysis    12/17/2019    Grabish, Stan         $400.00        0.70     $280.00    Cross-referencing Company's inventory
                                                                                              download and store list since accounting
                                                                                              download uses different store codes
  Business Analysis    12/17/2019    Grabish, Stan         $400.00        1.00     $400.00    Review of the last Gordon Brothers
                                                                                              inventory appraisal dated November
                                                                                              2018

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  Business Analysis    12/17/2019      Grabish, Stan           $400.00    2.00     $800.00    Start drafting liquidation analysis
  Business Analysis    12/17/2019      Grabish, Stan           $400.00    1.00     $400.00    Review of the last Gordon Brothers
                                                                                              Machinery and Equipment appraisal
                                                                                              dated November 2018
  Business Analysis    12/18/2019      Grabish, Stan           $400.00    0.70     $280.00    Review of the weekly cash collateral
                                                                                              variance reports
  Business Analysis    12/18/2019      Grabish, Stan           $400.00    1.50     $600.00    Reviewing of accounting download of
                                                                                              fixed assets to understand the category
                                                                                              groups (store vs wholesale)
  Business Analysis    12/18/2019      Grabish, Stan           $400.00    2.00     $800.00    Extending 2020 forecast to five years for
                                                                                              potential presentation to equity
  Business Analysis    12/18/2019      Grabish, Stan           $400.00    3.00    $1,200.00   Creation of weekly memo for conference
                                                                                              call on 12/19/2019
  Business Analysis    12/19/2019      Grabish, Stan           $400.00    0.30     $120.00    Outlining key statistics of store D60 to
                                                                                              Juanita Schwartzkopf and Vlad Altmark
  Business Analysis    12/19/2019      Grabish, Stan           $400.00    1.50     $600.00    Providing template for Dave Fyffe to
                                                                                              update cash flow and see differences
                                                                                              between new forecast vs prior one in
                                                                                              place
  Business Analysis    12/20/2019      Grabish, Stan           $400.00    0.50     $200.00    Review of the Company's updated cash
                                                                                              flow through mid-March 2020
  Business Analysis    12/20/2019      Grabish, Stan           $400.00    0.50     $200.00    Review and discussion of the Company's
                                                                                              updated cash flow
  Business Analysis    12/30/2019      Grabish, Stan           $400.00    0.50     $200.00    Call with the CFO to discuss the timing of
                                                                                              past two budget-to-actual analyses, latest
                                                                                              discussions with Stephens Inc and
                                                                                              Riverbend and milestone status per the
                                                                                              cash collateral order.

  Business Analysis    12/31/2019      Grabish, Stan           $400.00    0.40     $160.00    Review of the Company's weekly
                                                                                              inventory report to see changes to
                                                                                              wholesale and store D60 inventory
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    0.50     $200.00    Review of the CFO responses on the
                                                                                              milestone
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    0.30     $120.00    Providing answers to Juanita
                                                                                              Schwartzkopf on the key assumptions
                                                                                              that the CFO used in model
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    1.50     $600.00    Completion of draft weekly memo
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    1.50     $600.00    Comparison on the updated weekly
                                                                                              forecast through mid-March versus the
                                                                                              cash collateral order through 2/15/2020.
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    1.00     $400.00    Review of the Company's budget-to-
                                                                                              actual reporting for weeks ending 12/21
                                                                                              and 12/28
  Business Analysis    12/31/2019      Grabish, Stan           $400.00    0.30     $120.00    Providing template for CFO to provide
                                                                                              updates on the milestones for the weekly
                                                                                              memo
                       Total Business Analysis: S Grabish                41.00   $16,400.00

  Business Analysis    12/4/2019       Schwartzkopf, Juanita   $500.00    0.80     $400.00    Review of budget. Call with company,
                                                                                              counsel, and Focus team.
  Business Analysis    12/11/2019      Schwartzkopf, Juanita   $500.00    0.70     $350.00    Redlines of memo.
  Business Analysis    12/12/2019      Schwartzkopf, Juanita   $500.00    0.30     $150.00    Planning strategy discussion with internal
                                                                                              team.


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  Business Analysis     12/20/2019      Schwartzkopf, Juanita    $500.00    0.50      $250.00   Internal cash flow discussion.
                        Total Business Analysis: J Schwarzkopf              2.30    $1,150.00

  Business Analysis     12/2/2019       Altmark, Vlad            $450.00    0.20      $90.00    Correspondence on deliverables as part
                                                                                                of project between FMG and Gabriel's
  Business Analysis     12/4/2019       Altmark, Vlad            $450.00    0.50     $225.00    call with Cindy, Dave, Tom, Juanita and
                                                                                                Stan on IB discussions and plan. Update
                                                                                                on discussions with Glazers and Republic
                                                                                                Initial 2020 budget recap and need to
                                                                                                adjust plan to acceptable EBITDA target.

  Business Analysis     12/5/2019       Altmark, Vlad            $450.00    0.70     $315.00    Review of weekly performance to plan
                                                                                                and conf call with counsel, PNC and
                                                                                                Company to discuss
  Business Analysis     12/16/2019      Altmark, Vlad            $450.00    0.60     $270.00    Prepare wind down template, send to
                                                                                                Stan and follow up call to discuss how to
                                                                                                layout analysis of Gabriel's plan.
  Business Analysis     12/17/2019      Altmark, Vlad            $450.00    1.70     $765.00    Update wind down model file and format
                                                                                                for Gabriel's. Call and correspondence
                                                                                                with Stan to discuss outline of model and
                                                                                                assumptions to use in building recovery
                                                                                                values.
  Business Analysis     12/19/2019      Altmark, Vlad            $450.00    0.50     $225.00    Weekly all hands call with lender,
                                                                                                counsel, FMG and Company to discuss
                                                                                                prior week performance and deliverables
                                                                                                to CC motion.
                        Total Business Analysis: V Altmark                  4.20    $1,890.00
                        Total Business Analysis                            47.50   $19,440.00

  Case Administration   12/10/2019      Grabish, Stan            $400.00    2.50    $1,000.00   Creating draft memo for weekly call
  Case Administration   12/12/2019      Grabish, Stan            $400.00    1.00     $400.00    Creation of monthly operating reports for
                                                                                                two of the entities
                        Total Case Administration: S Grabish                3.50    $1,400.00
  Case Administration   12/10/2019     Schwartzkopf, Juanita $500.00        0.50     $250.00    Discussion on deliverables and next steps.
  Case Administration   12/12/2019     Schwartzkopf, Juanita $500.00        0.60     $300.00    Weekly update call.
                        Total Case Administration: J Schwartzkopf           1.10
                                                                                   550.00

  Case Administration   12/18/2019      Altmark, Vlad            $450.00    1.50     $675.00    Review of weekly status memo and edit
                                                                                                document, noting items to address in
                                                                                                revision to be sent out to all parties
                                                                                                ahead of Thursday weekly call

                        Total Case Administration: V Altmark                1.50     $675.00
                        Total Case Administration                           6.10    $2,625.00

  Fee Application       12/18/2019      Doland, Michael          $400.00    1.10     $440.00    Draft October fee statement with
                                                                                                supporting detail
  Fee Application       12/19/2019      Doland, Michael          $400.00    1.50     $600.00    Prepare November fee statement w
                                                                                                supporting detail
  Fee Application       12/26/2019      Doland, Michael          $400.00    1.10     $440.00    Revise November Fee Statement &
                                                                                                support
  Fee Application       12/27/2019      Doland, Michael          $400.00    0.30     $120.00    November Fee statement, revise and
                                                                                                circulate
                        Total Fee Application: M Doland                     4.00    $1,600.00



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  Financing               12/5/2019       Grabish, Stan            $400.00       0.50       $200.00     Conference call with Company and lender
  Financing               12/11/2019      Grabish, Stan            $400.00       0.70       $280.00     Call with Wells Fargo and Company to
                                                                                                        discuss status of refinance and
                                                                                                        forbearance / waiver
  Financing               12/11/2019      Grabish, Stan            $400.00       0.50       $200.00     Drafting response to lender inquiry on
                                                                                                        sources and uses
  Financing               12/13/2019      Grabish, Stan            $400.00       0.30       $120.00     Call with lender to discuss lease schedule
                                                                                                        and Investment Bank selection process
  Financing               12/19/2019       Grabish, Stan           $400.00       0.70       $280.00     Call with lender, Focus and counsel
                          Total Financing: S Grabish                             2.70     $1,080.00
  Financing               12/5/2019        Schwartzkopf, Juanita   $500.00       0.50       $250.00     Weekly update with secured lender,
                                                                                                        company and counsel.
  Financing               12/6/2019       Schwartzkopf, Juanita    $500.00       0.50       $250.00     Weekly update discussion with secured
                                                                                                        lender.
                          Total Financing: J Schwartzkopf                        1.00      $500.00
                          Total Finance                                          3.70     $1,580.00

  Asset Disposition       12/10/2019      Grabish, Stan            $400.00       2.00       $800.00     Creating draft teaser document for CFO
                                                                                                        to send to potential investors
  Asset Disposition       12/10/2019      Grabish, Stan            $400.00       1.00       $400.00     Drafting of language for potential teaser
                                                                                                        to equity players
                          Total Asset Disposition: S Grabish                     3.00     $1,200.00
  Asset Disposition       12/12/2019      Altmark, Vlad            $450.00       0.30       $135.00     FMG and Gabriel call to review memo
                                                                                                        write up and marketing plans
                          Total Asset Disposition: V Altmark                     0.30      $135.00
                          Total Asset Disposition                                3.30     $1,335.00

  Travel                  12/9/2019        Grabish, Stan           $200.00      3.50        $700.00     Travel Atlanta to San Antonio
  Travel                  12/13/2019       Grabish, Stan           $200.00      3.50        $700.00     Travel San Antonio to Atlanta
  Travel                  12/16/2019       Grabish, Stan           $200.00      3.50        $700.00     Travel Atlanta to San Antonio
  Travel                  12/19/2019       Grabish, Stan           $200.00      3.50        $700.00     Travel San Antonio to Atlanta
                          Total Travel: S Grabish                              14.00      $2,800.00
                          Total Travel                                         14.00      $2,800.00

                          Total Fees                                           78.60     $29,380.00


 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
            DEBTORS-IN-POSSESSION DETAIL OF EXPENSES FROM
              DECEMBER 1, 2019 THROUGH DECEMBER 31, 2019

  Expense Type                 Date           Name                 Expense     Description
  Lodging                      12/13/2019     Grabish, Stan          $443.24   Four-night hotel stay
  Lodging                      12/16/2019     Grabish, Stan          $326.61   Three-night hotel stay
                                               Total Lodging        $769.85


  Meals - Breakfast            12/9/2019      Grabish, Stan            $4.00
  Meals - Breakfast            12/11/2019     Grabish, Stan            $9.52
  Meals - Breakfast            12/13/2019     Grabish, Stan            $7.00
  Meals - Breakfast            12/16/2019     Grabish, Stan            $8.00
  Meals - Breakfast            12/17/2019     Grabish, Stan            $8.59
  Meals - Dinner               12/9/2019      Grabish, Stan           $33.00


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  Meals - Dinner               12/10/2019   Grabish, Stan      $35.12
  Meals - Dinner               12/11/2019   Grabish, Stan      $50.00
  Meals - Dinner               12/12/2019   Grabish, Stan      $19.76
  Meals - Dinner               12/16/2019   Grabish, Stan      $23.00
  Meals - Dinner               12/16/2019   Grabish, Stan      $12.50
  Meals - Dinner               12/18/2019   Grabish, Stan      $50.00
  Meals - Dinner               12/19/2019   Grabish, Stan      $12.00
  Meals - Lunch                12/9/2019    Grabish, Stan      $17.61
  Meals - Lunch                12/10/2019   Grabish, Stan      $34.00    Lunch with CFO of Gabriel
  Meals - Lunch                12/12/2019   Grabish, Stan      $33.38    Lunch with Cindy Gabriel of Gabriel
  Meals - Lunch                12/17/2019   Grabish, Stan       $8.22
  Meals - Lunch                12/19/2019   Grabish, Stan      $35.34    Lunch with CFO
                                              Total Meals     $401.04


  Travel-Air Fare              12/13/2019   Grabish, Stan      $674.60   Roundtrip airfare
  Travel-Air Fare              12/19/2019   Grabish, Stan      $432.60   Roundtrip airfare
  Travel-Cab/Limo Hire         12/9/2019    Grabish, Stan       $24.00   Home to airport
  Travel-Cab/Limo Hire         12/13/2019   Grabish, Stan       $24.00   Airport to home
  Travel-Cab/Limo Hire         12/16/2019   Grabish, Stan       $24.00   Home to airport
  Travel-Cab/Limo Hire         12/19/2019   Grabish, Stan       $24.00   Airport to home
  Travel-Car Rental            12/13/2019   Grabish, Stan      $291.45   Five-day rental
  Travel-Car Rental            12/19/2019   Grabish, Stan      $274.75   Four-day rental
  Travel-Fuel for Rental Car   12/13/2019   Grabish, Stan       $16.55   Fuel for rental
  Travel-Fuel for Rental Car   12/19/2019   Grabish, Stan        $6.55   Fuel for rental

                                              Total Travel   $1,792.50


  Communications               12/4/2019    Admin, Focus       $25.84    Conference Calls. 172 Combined Minutes.
  Communications               12/12/2019   Admin, Focus        $6.15    Conference Calls; 41 Combined Minutes
  Communications               12/13/2019   Grabish, Stan      $35.00    Weekly cell
  Communications               12/18/2019   Admin, Focus       $33.90    Conference Calls - 226 combined minutes
  Communications               12/19/2019   Grabish, Stan      $35.00    Weekly cell
                                             Total Comms      $135.89



                                            Total Expenses   $3,099.28




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 December 27, 2019                                                                   Invoice 2019-40756


 Gabriel Investment Group, Inc. ET AL                                                Case No. 19-52298-RBK
 10903 Gabriel’s Place
 San Antonio, TX 78217



   STATEMENT OF FEES AND EXPENSES OF FOCUS MANAGEMENT GROUP USA
  INC. FINANCIAL ADVISORS TO THE DEBTORS AND DEBTORS-IN-POSSESSION,
             FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
            FROM NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019



 Period for which compensation and
 reimbursement is sought                                         November 1, 2019 to November 30, 2019

 Amount of Compensation
 actual, reasonable and necessary:                               $ 61,350.00

 Amount of Expense Reimbursement
 actual, reasonable and necessary:                               $ 10,280.29

 Total Actual Fees and Expenses                                  $ 71,630.29


 Total Due                                      $ 59,360.29
 (Representing 80% of Fees and 100% of Expense)




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                   SUMMARY OF PROFESSIONALS RENDERING SERVICES
                  FROM NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019

                                                                     Hours
          Consultants                      Position                                Hourly Rate                Total
                                                                     Billed

  Juanita Schwartzkopf          Senior Managing Director                   4.3            $500.00                $2,150.00
  Vlad Altmark                  Managing Director                         55.0            $450.00               $24,750.00
  Stanley Grabish               Senior Consultant                         65.5            $400.00               $26,200.00
  Travel-V Altmark              Travel 50%                                18.0            $225.00                $4,050.00
  Travel-S Grabish              Travel 50$                                21.0            $200.00                $4,200.00

  Consultant Totals                                                     163.80                                  $61,350.00




                                              EXPENSE SUMMARY

          Expense Category                              Service Provider                                Total
                                                         (if applicable)
                                                                                                       Expenses
 Hotel                                                                                                          $3,236.12
 Meals                                                                                                            $897.75
 Miscellaneous                                                                                                    $125.00
 Travel                                                                                                         $5,872.43
 Communications                                                                                                   $148.99
 TOTAL                                                                                                        $10,280.29




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 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
 DEBTORS-IN-POSSESSION - DETAIL OF PROFESSIONALS RENDERING SERVICES FROM
                NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019

  Categories           Date                 Name              Rate      Hours         Fees                    Description
  Business Analysis    11/5/2019     Grabish, Stan          $ 400.00      0.50    $     200.00    Review of the Company's rents by
                                                                                                  store
  Business Analysis    11/5/2019     Grabish, Stan          $ 400.00       1.00   $     400.00    Review of the Company's
                                                                                                  revenues by store for each week
                                                                                                  for prior year
  Business Analysis    11/5/2019     Grabish, Stan          $ 400.00       3.00   $   1,200.00    Review of the Company's
                                                                                                  disbursements and billing files to
                                                                                                  complete budget to actual
                                                                                                  analysis at 10/25/2019
  Business Analysis    11/6/2019     Grabish, Stan          $ 400.00       3.00   $   1,200.00    Review of source documentation
                                                                                                  for budget to actual analysis at
                                                                                                  11/2/2019
  Business Analysis    11/8/2019     Grabish, Stan          $ 400.00       1.20   $     480.00    Review of the valuation reports
                                                                                                  done by other investment
                                                                                                  bankers on the licenses.
  Business Analysis    11/8/2019     Grabish, Stan          $ 400.00       0.30   $     120.00    Conference call to discuss the
                                                                                                  status of the DIP budget. Both
                                                                                                  Juanita Schwartzkopf and Vlad
                                                                                                  Altmark were on the call.
  Business Analysis    11/11/2019    Grabish, Stan          $ 400.00       0.80   $     320.00    Review of the vendor matrix with
                                                                                                  the controller to assign categories
                                                                                                  to vendors not initially assigned
                                                                                                  to the vendor matrix; this is being
                                                                                                  updated weekly.
  Business Analysis    11/11/2019    Grabish, Stan          $ 400.00       1.50   $     600.00    Review of the Company's weekly
                                                                                                  receipts and disbursements to aid
                                                                                                  in the completion of budget to
                                                                                                  actual comparison on cash
                                                                                                  collateral
  Business Analysis    11/13/2019    Grabish, Stan          $ 400.00       3.50   $   1,400.00    Model DIP budget to incorporate
                                                                                                  higher inventory levels in
                                                                                                  December and borrowing base
                                                                                                  over the forecasted period
  Business Analysis    11/13/2019    Grabish, Stan          $ 400.00       0.50   $     200.00    Outlining the key attributes of DIP
                                                                                                  model to Juanita Schwartzkopf for
                                                                                                  discussion
  Business Analysis    11/13/2019    Grabish, Stan          $ 400.00       2.00   $     800.00    Discussion with Company on
                                                                                                  forecast and liquor licenses
  Business Analysis    11/14/2019    Grabish, Stan          $ 400.00       3.00   $   1,200.00    Continue updating the DIP model
                                                                                                  to reflect higher inventory and
                                                                                                  exposure in December period.
  Business Analysis    11/14/2019    Grabish, Stan          $ 400.00       0.70   $     280.00    Creation of exhibits for memo
  Business Analysis    11/14/2019    Grabish, Stan          $ 400.00       0.50   $     200.00    Call with Company to discuss
                                                                                                  budget to actual as well as status
                                                                                                  of DIP budget
  Business Analysis    11/15/2019    Grabish, Stan          $ 400.00       0.50   $     200.00    Call on DIP budget and status of
                                                                                                  equity raise efforts
  Business Analysis    11/18/2019    Grabish, Stan          $ 400.00       2.00   $     800.00    Review of the Company's weekly
                                                                                                  cash file from Company
  Business Analysis    11/19/2019    Grabish, Stan          $ 400.00       1.50   $     600.00    Review of the Company's
                                                                                                  corporate expenses for the
                                                                                                  Trailing Twelve-Month period


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  Business Analysis    11/19/2019      Grabish, Stan        $ 400.00       3.50   $    1,400.00     Creation of the income statement
                                                                                                    portion of model to incorporate
                                                                                                    the go-forward stores and
                                                                                                    corporate expenses
  Business Analysis    11/19/2019      Grabish, Stan        $ 400.00       2.00   $      800.00     Onsite to provide consulting
                                                                                                    support for Company
  Business Analysis    11/20/2019      Grabish, Stan        $ 400.00       1.50   $      600.00     Review of the Company's
                                                                                                    corporate payroll headcount
  Business Analysis    11/20/2019      Grabish, Stan        $ 400.00       2.00   $      800.00     Review of model with CFO on
                                                                                                    store performance and corporate
                                                                                                    expenses
  Business Analysis    11/20/2019      Grabish, Stan        $ 400.00       2.50   $    1,000.00     Onsite to provide consulting
                                                                                                    support for Company
  Business Analysis    11/20/2019      Grabish, Stan        $ 400.00       0.50   $      200.00     Discussion with owner on
                                                                                                    Investment Banking process
  Business Analysis    11/21/2019      Grabish, Stan        $ 400.00       0.50   $      200.00     Weekly call with Company
  Business Analysis    11/22/2019      Grabish, Stan        $ 400.00       3.50   $    1,400.00     Update of the budget to
                                                                                                    incorporate the adjusted
                                                                                                    corporate expenses and
                                                                                                    expanded detail on store
                                                                                                    expenses
  Business Analysis    11/25/2019      Grabish, Stan        $ 400.00       0.40   $      160.00     Outlining the current features in
                                                                                                    2020 model for CFO
  Business Analysis    11/27/2019      Grabish, Stan        $ 400.00       0.70   $      280.00     Call with CFO to discuss model
                                                                                                    and proposed changes
  Business Analysis    11/27/2019      Grabish, Stan        $ 400.00       3.50   $    1,400.00     Changes to model: (I)
                                                                                                    incorporating repayment plans to
                                                                                                    Glazers / Republic, (ii) allowing
                                                                                                    user to adjust 2020 for recent
                                                                                                    changes versus relying on run rate
                                                                                                    from 2019, (iii) adding sources
                                                                                                    and uses and (iv) adding equity
                                                                                                    infusion feature
                       Total Business Analysis: S Grabish                46.10        $18,440.00

  Business Analysis    11/5/2019       Altmark, Vlad        $ 450.00       0.70   $      315.00     Review Company prepared 2 cash
                                                                                                    flow models, analyze variances
                                                                                                    and prepare talking points to
                                                                                                    address with Dave F.
  Business Analysis    11/7/2019       Altmark, Vlad        $ 450.00       3.10   $    1,395.00     Work on preparing DIP model
                                                                                                    presentation with Stan. Review
                                                                                                    and adjust two scenario model
                                                                                                    and assumptions to inventory
  Business Analysis    11/13/2019      Altmark, Vlad        $ 450.00       1.30   $      585.00     Meeting with Dave to review
                                                                                                    prior week and period to date
                                                                                                    performance and address cause
                                                                                                    of variances
  Business Analysis    11/13/2019      Altmark, Vlad        $ 450.00       1.40   $      630.00     Meetings with Dave to review DIP
                                                                                                    models and adjustments
  Business Analysis    11/13/2019      Altmark, Vlad        $ 450.00       3.00   $    1,350.00     Work with Stan on two scenarios
                                                                                                    of models for business: Impact of
                                                                                                    DIP and non-DIP on collateral and
                                                                                                    bank position.
  Business Analysis    11/14/2019      Altmark, Vlad        $ 450.00       0.50   $      225.00     Meeting with Dave and Stan to
                                                                                                    discuss source of variances in
                                                                                                    weekly and YTD performance to
                                                                                                    plan


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  Business Analysis     11/14/2019      Altmark, Vlad          $ 450.00    3.90   $    1,755.00     Finalize model and assumptions
                                                                                                    in supporting tabs; after meeting
                                                                                                    with Dave and getting inventory
                                                                                                    roll forward and stocking levels
                                                                                                    set. Write memo and create table
                                                                                                    for memo. Send out memo
  Business Analysis     11/14/2019      Altmark, Vlad          $ 450.00    1.10   $      495.00     Review updated model and back
                                                                                                    worksheets. Update/Clean up
                                                                                                    links and send over files for
                                                                                                    review
  Business Analysis     11/15/2019      Altmark, Vlad          $ 450.00    2.20   $      990.00     Review of inventory and store
                                                                                                    level stocking levels. Discuss rent
                                                                                                    and impact of inventory carrying
                                                                                                    cost and rent to store profitability
                                                                                                    with Cindy. Discuss future of store
                                                                                                    60 with Cindy and Dave; as part of
                                                                                                    inventory and rent expense in
                                                                                                    business model moving forward.
  Business Analysis     11/19/2019      Altmark, Vlad          $ 450.00    1.40   $      630.00     Review and discussion of
                                                                                                    marketing materials for exit
                                                                                                    strategy and IB documents
  Business Analysis     11/19/2019      Altmark, Vlad          $ 450.00    2.00   $      900.00     Meeting with Cindy and Ronnie to
                                                                                                    discuss business plan, exit
                                                                                                    strategies and business dynamics
                                                                                                    historically and moving forward.
  Business Analysis     11/19/2019      Altmark, Vlad          $ 450.00    1.00   $      450.00     Initial review of FMG prepared
                                                                                                    2020 Income Statement and
                                                                                                    Balance Sheet Projection
  Business Analysis     11/20/2019      Altmark, Vlad          $ 450.00    1.60   $      720.00     review weekly and period to date
                                                                                                    performance and variance.
  Business Analysis     11/20/2019      Altmark, Vlad          $ 450.00    1.10   $      495.00     Prepare draft P&L 2020 base case
                                                                                                    forecast with Stan
  Business Analysis     11/20/2019      Altmark, Vlad          $ 450.00    2.20   $      990.00     Review payroll and Admin
                                                                                                    expense detail for 2020 plan prep
  Business Analysis     11/21/2019      Altmark, Vlad          $ 450.00    0.70   $      315.00     Review of Company prepared CF
                                                                                                    model for Cash Collateral period
  Business Analysis     11/22/2019      Altmark, Vlad          $ 450.00    0.90   $      405.00     Correspondence on committee
                                                                                                    appointment and budget
                                                                                                    adjustment
  Business Analysis     11/25/2019      Altmark, Vlad          $ 450.00    0.40   $      180.00     Calls with Stan on open items to
                                                                                                    address for budget prep
  Business Analysis     11/27/2019      Altmark, Vlad          $ 450.00    0.50   $      225.00     Call with Stan on budget file.
                                                                                                    Recommend creating a summary
                                                                                                    "Sources and Uses" type
                                                                                                    summary to illustrate exit
                                                                                                    financing needs.
                        Total Business Analysis: V Altmark                29.00       $13,050.00
                        Total Business Analysis                           75.10       $31,490.00

  Business Operations   11/4/2019       Grabish, Stan          $ 400.00    1.00   $      400.00     Discussion with controller on how
                                                                                                    the budget to actual is being
                                                                                                    compiled
  Business Operations   11/7/2019       Grabish, Stan          $ 400.00    1.50   $      600.00     Meeting with Vlad Altmark and
                                                                                                    Cindy Gabriel to discuss value of
                                                                                                    license and engagement of
                                                                                                    investment bankers to value this
                                                                                                    license
                        Total Business Operations: S Grabish               2.50        $1,000.00


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  Business Operations   11/1/2019       Altmark, Vlad          $ 450.00    1.20   $     540.00     Correspondence with Stan and
                                                                                                   discussion of store performance
                                                                                                   matrix. Review rent schedules
                                                                                                   and rent as part of store
                                                                                                   performance GP calculation
  Business Operations   11/7/2019       Altmark, Vlad          $ 450.00    3.80   $   1,710.00     Review store profitability matrix.
                                                                                                   Review OPEX items and CF
                                                                                                   performance to plan
  Business Operations   11/8/2019       Altmark, Vlad          $ 450.00    2.00   $     900.00     Meetings with Stan and Cindy,
                                                                                                   and Dave and Stan to discuss rent
                                                                                                   negation, status of license in
                                                                                                   state, store profitability and firm
                                                                                                   valuation
  Business Operations   11/13/2019      Altmark, Vlad          $ 450.00    2.50   $   1,125.00     Meetings with Cindy to discuss
                                                                                                   direction of retail operations,
                                                                                                   store performance and rent
                                                                                                   negotiations. Discuss "vineyard"
                                                                                                   store performance and decisions
                                                                                                   to address in terms of go-forward
                                                                                                   plan with it.
  Business Operations   11/18/2019      Altmark, Vlad          $ 450.00    0.90   $     405.00     Review of store performance
                                                                                                   matrix and rent schedule to prep
                                                                                                   for discussion with Company on
                                                                                                   close/leave open store decision
  Business Operations   11/19/2019      Altmark, Vlad          $ 450.00    1.80   $     810.00     Review of cost center reports and
                                                                                                   headcount data for 2020 plan
                                                                                                   analysis
  Business Operations   11/20/2019      Altmark, Vlad          $ 450.00    1.10   $     495.00     Meeting with Dave, Cindy and
                                                                                                   Stan to review prelim 2020 P&L
                                                                                                   forecast and discuss OPEX
                                                                                                   reduction strategies
                        Total Business Operations: V Altmark              13.30       $5,985.00
                        Total Business Operations                         15.80       $6,985.00

  Case Administration   11/7/2019       Grabish, Stan          $ 400.00    2.50   $   1,000.00     Created an excel draft schedules
                                                                                                   template so that the CFO could
                                                                                                   easily provide responses and data
                                                                                                   requested in the SOFA and
                                                                                                   Schedules
  Case Administration   11/7/2019       Grabish, Stan          $ 400.00    0.50   $     200.00     Reviewed the draft Schedules
                                                                                                   completed by the Company
  Case Administration   11/11/2019      Grabish, Stan          $ 400.00    1.00   $     400.00     Onsite and available to answer
                                                                                                   questions on SOFAs / Schedules
                                                                                                   as CFO and Controller compile
                                                                                                   information
  Case Administration   11/12/2019      Grabish, Stan          $ 400.00    2.00   $     800.00     Discussion with Dave on status of
                                                                                                   SOFAs, Schedules and completing
                                                                                                   DIP budget
  Case Administration   11/12/2019      Grabish, Stan          $ 400.00    0.80   $     320.00     Call with Company's attorney on
                                                                                                   SOFA with Dave Fyffe
  Case Administration   11/12/2019      Grabish, Stan          $ 400.00    0.30   $     120.00     Begin planning for potential
                                                                                                   preference analysis
  Case Administration   11/14/2019      Grabish, Stan          $ 400.00    0.30   $     120.00     Review of the insider transfers
                                                                                                   listed on the SOFA schedule
                        Total Case Administration: S Grabish               7.40       $2,960.00
  Case Administration   11/8/2019      Schwartzkopf, Juanita   $ 500.00    0.70   $      350.00    Update call with Company.
  Case Administration   11/13/2019     Schwartzkopf, Juanita   $ 500.00    0.20   $      100.00    Weekly reporting review.
  Case Administration   11/14/2019     Schwartzkopf, Juanita   $ 500.00    0.80   $      400.00    Weekly update call.


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  Case Administration     11/15/2019      Schwartzkopf, Juanita    $ 500.00    0.60   $     300.00     Weekly update with Company.
  Case Administration     11/22/2019      Schwartzkopf, Juanita    $ 500.00    0.50   $     250.00     Weekly update call with
                                                                                                       Company.
  Case Administration     11/22/2019      Schwartzkopf, Juanita    $ 500.00    0.20   $     100.00     Follow up with Vlad and Cindy on
                                                                                                       the timeline requirements.
  Case Administration     11/23/2019      Schwartzkopf, Juanita    $ 500.00    0.60   $     300.00     Outline of deliverables and
                                                                                                       response to email from Dave on
                                                                                                       schedule.
                          Total Case Administration: J Schwartzkopf            3.60
                                                                                      1,800.00
  Case Administration     11/11/2019      Altmark, Vlad            $ 450.00    2.20   $     990.00     Review of filing docs on GP and
                                                                                                       related entities
  Case Administration     11/12/2019      Altmark, Vlad            $ 450.00    1.50   $     675.00     Review of filing docs on GP and
                                                                                                       related entities
  Case Administration     11/14/2019      Altmark, Vlad            $ 450.00    0.80   $     360.00     All hands call to review weekly
                                                                                                       performance. Pre/Post meeting
                                                                                                       with Dave and Cindy to discuss
                                                                                                       DIP and performance.
  Case Administration     11/14/2019      Altmark, Vlad            $ 450.00    2.20   $     990.00     Review updated supporting
                                                                                                       schedules for SOFA. Meeting with
                                                                                                       Cindy and Dave to address
                                                                                                       disbursement info and need for
                                                                                                       additional review of historical
                                                                                                       transactions related to insiders.
  Case Administration     11/22/2019      Altmark, Vlad            $ 450.00    0.50   $     225.00     FMG status update call
  Case Administration     11/23/2019      Altmark, Vlad            $ 450.00    0.50   $     225.00     Per request, prepare and send
                                                                                                       out list of deliverables from FMG
                                                                                                       during planned BK period
                          Total Case Administration: V Altmark                 7.70       $3,465.00
                          Total Case Administration                           18.70       $8,225.00

  Financing               11/5/2019       Grabish, Stan            $ 400.00    2.00   $     800.00     Discussions with Dave Fyfe on the
                                                                                                       cash collateral budget, court
                                                                                                       hearing on the cash collateral and
                                                                                                       need for projections for the DIP
                                                                                                       budget and ultimately valuation
                                                                                                       of the business
  Financing               11/5/2019       Grabish, Stan            $ 400.00    1.50   $     600.00     Review of the Company's draft
                                                                                                       cash collateral budget with CFO
  Financing               11/6/2019       Grabish, Stan            $ 400.00    0.50   $     200.00     Review of the Company's current
                                                                                                       borrowing base
  Financing               11/6/2019       Grabish, Stan            $ 400.00    3.00   $   1,200.00     Creation of the Company's DIP
                                                                                                       budget, incorporating aspects of
                                                                                                       the cash collateral budget and
                                                                                                       Borrowing Base information.
  Financing               11/7/2019       Grabish, Stan            $ 400.00    1.50   $     600.00     Analysis of the Company's current
                                                                                                       inventory sku and comparison to
                                                                                                       prior year's sales to determine if
                                                                                                       inventory levels in DIP budget are
                                                                                                       enough
  Financing               11/11/2019      Grabish, Stan            $ 400.00    1.00   $     400.00     Discussion with Dave Fyfe on
                                                                                                       updating the DIP model for
                                                                                                       actuals.
                          Total Financing: S Grabish                           9.50       $3,800.00
                                                                                                       Cash flow and DIP forecasting
  Financing               11/7/2019        Schwartzkopf, Juanita   $ 500.00    0.70   $     350.00     related.
                          Total Financing: J Schwartzkopf                      0.70   $     350.00


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  Financing               11/5/2019       Altmark, Vlad        $ 450.00        0.50    $      225.00      Call with David F and Stan G to
                                                                                                          discuss 2 CF models for cash
                                                                                                          collateral hearing
  Financing               11/8/2019       Altmark, Vlad        $ 450.00        0.40    $      180.00      Legal call on DIP formulation and
                                                                                                          exit strategy
  Financing               11/15/2019      Altmark, Vlad        $ 450.00        0.50    $      225.00      Call to discuss DIP
  Financing               11/19/2019      Altmark, Vlad        $ 450.00        1.30    $      585.00      Correspondence and Call with
                                                                                                          Company on DIP proposal. Post
                                                                                                          call meeting with Dave and Stem
                                                                                                          to address impact of no DIP
                                                                                                          financing and cash collateral
  Financing               11/19/2019      Altmark, Vlad        $ 450.00        0.80    $      360.00      Meeting with Cindy and Stan on
                                                                                                          DIP financing. Conf call with Tom
                                                                                                          P and Company, MG to discuss
                                                                                                          DIP and no-DIP scenarios.
  Financing               11/21/2019      Altmark, Vlad        $ 450.00        1.50    $      675.00      Finance discussion exit strategy
                                                                                                          and pre-call prep with Company.
                          Total Finance: V Altmark                             5.00         $2,250.00
                          Total Finance                                       15.20         $6,400.00

  Travel                     11/4/2019 Grabish, Stan           $ 200.00        3.50    $       700.00     Atlanta to San Antonio
  Travel                     11/8/2019 Grabish, Stan           $ 200.00        3.50    $       700.00     San Antonio to Atlanta
  Travel                   11/10/2019 Grabish, Stan            $ 200.00        3.50    $       700.00     Atlanta to San Antonio
  Travel                   11/15/2019 Grabish, Stan            $ 200.00        3.50    $       700.00     San Antonio to Atlanta
  Travel                   11/18/2019 Grabish, Stan            $ 200.00        3.50    $       700.00     Atlanta to San Antonio
  Travel                   11/21/2019 Grabish, Stan            $ 200.00        3.50    $       700.00     San Antonio to Atlanta
                          Total Travel: S Grabish                             21.00         $4,200.00
  Travel                     11/6/2019 Altmark, Vlad           $ 225.00        3.00    $       675.00     Chicago to San Antonio
  Travel                     11/8/2019 Altmark, Vlad           $ 225.00        3.00    $       675.00     San Antonio’s to Chicago
  Travel                   11/12/2019 Altmark, Vlad            $ 225.00        3.00    $       675.00     Chicago to San Antonio
  Travel                   11/15/2019 Altmark, Vlad            $ 225.00        3.00    $       675.00     San Antonio to Chicago
  Travel                   11/18/2019 Altmark, Vlad            $ 225.00        3.00    $       675.00     Chicago to San Antonio
  Travel                   11/21/2019 Altmark, Vlad            $ 225.00        3.00    $       675.00     San Antonio to Chicago
                          Total Travel: V Altmark                             18.00         $4,050.00
                          Total Travel                                        39.00         $8,250.00

                          Total Fees                                       163.80          $61,350.00




 FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE DEBTORS AND
            DEBTORS-IN-POSSESSION DETAIL OF EXPENSES FROM
              NOVEMBER 1, 2019 THROUGH NOVEMBER 30, 2019

  Expense Type                Date           Name                  Expense      Description
  Lodging                      11/4/2019     Grabish, Stan     $     548.48     Four nights hotel stay
  Lodging                      11/6/2019     Altmark, Vlad     $     259.38     Two nights hotel stay
  Lodging                     11/12/2019     Altmark, Vlad     $     510.24     Three nights hotel stay


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  Lodging                   11/15/2019   Grabish, Stan       $      800.55   Five nights hotel stay
  Lodging                   11/18/2019   Altmark, Vlad       $      414.39   Three nights hotel stay
  Lodging                   11/21/2019   Grabish, Stan       $      703.08   Hotel for the week
                                          Total Lodging          $3,236.12


  Meals - Breakfast          11/4/2019   Grabish, Stan       $        2.50
  Meals - Breakfast         11/13/2019   Altmark, Vlad       $      10.23
  Meals - Breakfast         11/14/2019   Altmark, Vlad       $        8.00
  Meals - Breakfast         11/15/2019   Grabish, Stan       $      31.00    w V Altmark
  Meals - Breakfast         11/20/2019   Altmark, Vlad       $        3.00
  Meals - Breakfast         11/20/2019   Altmark, Vlad       $        8.64
  Meals - Dinner             11/4/2019   Grabish, Stan       $      22.80
  Meals - Dinner             11/7/2019   Grabish, Stan       $     105.00    w V Altmark
  Meals - Dinner             11/8/2019   Grabish, Stan       $        9.00
  Meals - Dinner             11/8/2019   Altmark, Vlad       $      10.29
  Meals - Dinner            11/12/2019   Grabish, Stan       $      50.00
  Meals - Dinner            11/13/2019   Grabish, Stan       $     103.28    w V Altmark
  Meals - Dinner            11/14/2019   Grabish, Stan       $      58.00    w V Altmark
  Meals - Dinner            11/18/2019   Altmark, Vlad       $      33.19
  Meals - Dinner            11/19/2019   Altmark, Vlad       $      43.73
  Meals - Dinner            11/20/2019   Altmark, Vlad       $      45.10
  Meals - Dinner            11/20/2019   Grabish, Stan       $        3.75
  Meals - Dinner            11/21/2019   Altmark, Vlad       $      13.42
  Meals - Lunch              11/5/2019   Grabish, Stan       $        9.19
  Meals - Lunch              11/6/2019   Grabish, Stan       $        5.00
  Meals - Lunch              11/7/2019   Grabish, Stan       $      75.00    W Cindi Gabriel and V Altmark
  Meals - Lunch              11/8/2019   Grabish, Stan       $      24.00    w V Altmark
  Meals - Lunch             11/11/2019   Grabish, Stan       $        8.87
  Meals - Lunch             11/13/2019   Grabish, Stan       $      27.47    w V Altmark
  Meals - Lunch             11/14/2019   Grabish, Stan       $      24.96    w V Altmark
  Meals - Lunch             11/15/2019   Altmark, Vlad       $      10.00
  Meals - Lunch             11/15/2019   Grabish, Stan       $      21.73
  Meals - Lunch             11/18/2019   Altmark, Vlad       $      14.34
  Meals - Lunch             11/18/2019   Grabish, Stan       $      14.00
  Meals - Lunch             11/19/2019   Grabish, Stan       $      29.26    w V Altmark
  Meals - Lunch             11/20/2019   Grabish, Stan       $      73.00    W Cindi Gabriel and V Altmark
                                           Total Meals            $897.75


  Travel-Air Fare            11/4/2019   Grabish, Stan       $     643.70    Roundtrip Atlanta to San Antonio
  Travel-Air Fare            11/6/2019   Altmark, Vlad       $     361.95    Chicago to San Antonio
  Travel-Air Fare            11/8/2019   Altmark, Vlad       $     295.30    San Antonio to Chicago
  Travel-Air Fare           11/12/2019   Altmark, Vlad       $     278.50    Chicago to San Antonio
  Travel-Air Fare           11/15/2019   Altmark, Vlad       $     507.30    San Antonio to Chicago
  Travel-Air Fare           11/15/2019   Grabish, Stan       $     613.70    Roundtrip Atlanta to San Antonio
  Travel-Air Fare           11/18/2019   Altmark, Vlad       $     507.30    Chicago to San Antonio
  Travel-Air Fare           11/21/2019   Grabish, Stan       $     724.60    Roundtrip Atlanta to San Antonio
  Travel-Air Fare           11/21/2019   Altmark, Vlad       $     462.30    San Antonio to Chicago
  Travel-Cab/Limo Hire       11/4/2019   Grabish, Stan       $      24.00    Home to Airport
  Travel-Cab/Limo Hire       11/6/2019   Altmark, Vlad       $        5.00   Home to Airport
  Travel-Cab/Limo Hire       11/8/2019   Grabish, Stan       $      24.00    Airport to Home
  Travel-Cab/Limo Hire       11/8/2019   Altmark, Vlad       $      60.00    Airport to Home
  Travel-Cab/Limo Hire      11/10/2019   Grabish, Stan       $      24.00    Home to Airport

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  Travel-Cab/Limo Hire         11/12/2019   Altmark, Vlad    $          5.00   Home to Airport
  Travel-Cab/Limo Hire         11/15/2019   Altmark, Vlad    $        60.00    Airport to Home
  Travel-Cab/Limo Hire         11/15/2019   Grabish, Stan    $        24.00    Airport to Home
  Travel-Cab/Limo Hire         11/18/2019   Altmark, Vlad    $        60.00    Home to Airport
  Travel-Cab/Limo Hire         11/18/2019   Grabish, Stan    $        24.00    Home to Airport
  Travel-Cab/Limo Hire         11/21/2019   Altmark, Vlad    $        60.00    Airport to Home
  Travel-Cab/Limo Hire         11/21/2019   Grabish, Stan    $        24.00    Airport to Home
  Travel-Car Rental             11/8/2019   Grabish, Stan    $       381.67    Car rental for the week
  Travel-Car Rental            11/15/2019   Grabish, Stan    $       350.59    Car rental for the week
  Travel-Car Rental            11/21/2019   Grabish, Stan    $       305.34    Car rental for the week
  Travel-Fuel for Rental Car    11/8/2019   Grabish, Stan    $        21.00    Fuel for rental
  Travel-Fuel for Rental Car   11/15/2019   Grabish, Stan    $        10.18    Fuel for rental
  Travel-Valet/Tips             11/8/2019   Altmark, Vlad    $          5.00
  Travel-Valet/Tips            11/14/2019   Altmark, Vlad    $          5.00
  Travel-Valet/Tips            11/20/2019   Altmark, Vlad    $          5.00
                                              Total Travel        $5,872.43


  Dues & Subscriptions          11/5/2019   Admin, Focus     $      125.00     IBIS World Report NAICS Code 445310 Beer, Wine, Liquor
                                                                               Stores
                                              Total Other          $125.00


  Communications               11/15/2019   Altmark, Vlad    $        8.99     internet
  Communications                11/8/2019   Grabish, Stan    $       35.00     weekly cell phone
  Communications               11/15/2019   Grabish, Stan    $       35.00     weekly cell phone
  Communications               11/21/2019   Grabish, Stan    $       35.00     weekly cell phone
  Communications               11/29/2019   Grabish, Stan    $       35.00     weekly cell phone
                                             Total Comms           $148.99



                                            Total Expenses       $10,280.29




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 December 19, 2019                                                                   Invoice 2019-40638


 Gabriel Investment Group, Inc. ET AL                                                Case No. 19-52298-RBK
 10903 Gabriel’s Place
 San Antonio, TX 78217



   STATEMENT OF FEES AND EXPENSES OF FOCUS MANAGEMENT GROUP USA
  INC. FINANCIAL ADVISORS TO THE DEBTORS AND DEBTORS-IN-POSSESSION,
            FOR COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
            FROM OCTOBER 17, 2019 THROUGH OCTOBER 31, 2019



 Period for which compensation and
 reimbursement is sought                                         October 17, 2019 to October 31, 2019

 Amount of Compensation
 actual, reasonable and necessary:                               $ 23,730.00

 Amount of Expense Reimbursement
 actual, reasonable and necessary:                               $ 2,438.86

 Total Actual Fees and Expenses                                  $ 26,168.86


 Total Due                                      $ 21,422.86
 (Representing 80% of Fees and 100% of Expense)




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                   SUMMARY OF PROFESSIONALS RENDERING SERVICES
                   FROM OCTOBER 17, 2019 THROUGH OCTOBER 31, 2019

                                                                     Hours
          Consultants                      Position                                Hourly Rate                Total
                                                                     Billed

  Juanita Schwartzkopf          Senior Managing Director                   1.8            $500.00                 $900.00
  Vlad Altmark                  Managing Director                         23.7            $450.00               $10,655.00
  Stanley Grabish               Senior Consultant                         22.6            $400.00                $9,040.00
  Travel-V Altmark              Travel 50%                                 5.0            $225.00                $1,125.00
  Travel-S Grabish              Travel 50$                                10.0            $200.00                $2,000.00

  Consultant Totals                                                      63.10                                  $23,720.00




                                              EXPENSE SUMMARY

          Expense Category                              Service Provider                                Total
                                                         (if applicable)
                                                                                                       Expenses
 Hotel                                                                                                            $542.26
 Meals                                                                                                            $247.95
 Miscellaneous                                                                                                         $0.00
 Travel                                                                                                         $1,616.18
 Communications                                                                                                    $32.47
 TOTAL                                                                                                          $2,438.86




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    FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE
    DEBTORS AND DEBTORS-IN-POSSESSION - DETAIL OF PROFESSIONALS
  RENDERING SERVICES FROM OCTOBER 17, 2019 THROUGH OCTOBER 31, 2019
  Categories           Date                   Name                Rate     Hours        Fees                      Description
  Business Analysis     10/21/2019     Grabish, Stan            $ 400.00     1.20   $     480.00     Analysis of the Company
                                                                                                     financials to determine sales by
                                                                                                     category by store
  Business Analysis     10/21/2019     Grabish, Stan            $ 400.00     3.50   $   1,400.00     Consolidating the individual store
                                                                                                     financials into one workbook
  Business Analysis     10/22/2019     Grabish, Stan            $ 400.00     1.50   $     600.00     Review of the Company's cash
                                                                                                     flow to understand
                                                                                                     disbursements and assumptions
  Business Analysis     10/22/2019     Grabish, Stan            $ 400.00     0.50   $     200.00     Call with Company to discuss files
                                                                                                     provided to date
  Business Analysis     10/31/2019     Grabish, Stan            $ 400.00     0.50   $     200.00     Conference call with PNC, and
                                                                                                     Gabriel's to discuss 1st week
                                                                                                     onsite and status of DIP budget
                       Total Business Analysis: S Grabish                    7.20       $2,880.00
  Business Analysis     10/31/2019 Schwartzkopf, Juanita        $ 500.00     0.50   $      250.00    Lease analysis related discussions.
  Business Analysis     10/31/2019 Schwartzkopf, Juanita        $ 500.00     0.50   $      250.00    Real estate lease related
                                                                                                     discussions and follow up.
  Business Analysis     10/31/2019     Schwartzkopf, Juanita    $ 500.00     0.50   $     250.00     FMG team call w Stan and Vlad to
                                                                                                     discuss CF model


                       Total Business Analysis: J Schwarzkopf                1.50        $750.00
  Business Analysis     10/21/2019 Altmark, Vlad                $ 450.00     0.60   $     270.00     Call to review data analysis and
                                                                                                     steps in laying out financials
  Business Analysis     10/22/2019     Altmark, Vlad            $ 450.00     0.40   $     180.00     Call with Company, FMG and
                                                                                                     counsel to discuss 13-week CF,
                                                                                                     open items and store info matrix
  Business Analysis     10/23/2019     Altmark, Vlad            $ 450.00     1.70   $     765.00     Review annual financial
                                                                                                     statements and corporate
                                                                                                     structure
  Business Analysis     10/23/2019     Altmark, Vlad            $ 450.00     1.90   $     855.00     Review financial statements and
                                                                                                     store profit & loss statements
  Business Analysis     10/23/2019     Altmark, Vlad            $ 450.00     1.40   $     630.00     Correspondence with Stan
                                                                                                     Grabish and preparation of store
                                                                                                     performance summary
  Business Analysis     10/28/2019     Altmark, Vlad            $ 450.00     1.00   $     450.00     Meeting with Dave Fyffe to
                                                                                                     discuss current situation.
  Business Analysis     10/28/2019     Altmark, Vlad            $ 450.00     0.40   $     180.00     Reporting process and FMG role
                                                                                                     discussion.
  Business Analysis     10/28/2019     Altmark, Vlad            $ 450.00     0.80   $     360.00     Recap of local market pressures,
                                                                                                     competitive situation and
                                                                                                     Company actions in market.
  Business Analysis     10/29/2019     Altmark, Vlad            $ 450.00     1.50   $     675.00     Meet with Dave to discuss Cash
                                                                                                     balance, BK cutoff related to
                                                                                                     balances and collateral with PNC.
                                                                                                     Review bank ledger file
  Business Analysis     10/31/2019     Altmark, Vlad            $ 450.00     0.50   $     225.00     FMG team call with Stan and
                                                                                                     Juanita to discuss CF model
                       Total Business Analysis: V Altmark                   10.20       $4,590.00
                       Total Business Analysis                              18.90       $8,220.00


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  Business Operations    10/29/2019     Grabish, Stan          $ 400.00    0.70   $     280.00     Meeting with Cindy Gabriel to
                                                                                                   discuss Company's operations
  Business Operations    10/29/2019     Grabish, Stan          $ 400.00    2.50   $   1,000.00     Review of the weekly sales
                                                                                                   reports for the prior year in
                                                                                                   comparison to the weekly
                                                                                                   forecasts during the bankruptcy
                                                                                                   period
  Business Operations    10/29/2019     Grabish, Stan          $ 400.00    0.50   $     200.00     Store visit to see larger format
                                                                                                   store
  Business Operations    10/30/2019     Grabish, Stan          $ 400.00    0.50   $     200.00     Tour of the Company's
                                                                                                   warehouse operation located at
                                                                                                   the headquarters
  Business Operations    10/30/2019     Grabish, Stan          $ 400.00    1.00   $     400.00     Review of the Company's recent
                                                                                                   ADP reports
  Business Operations    10/30/2019     Grabish, Stan          $ 400.00    0.60   $     240.00     Review of the forwarded rent
                                                                                                   schedule
  Business Operations    10/30/2019     Grabish, Stan          $ 400.00    0.60   $     240.00     Review revenue analysis
  Business Operations    10/30/2019     Grabish, Stan          $ 400.00    0.50   $     200.00     Store visit to see smaller format
                                                                                                   store
  Business Operations    10/31/2019     Grabish, Stan          $ 400.00    1.50   $     600.00     Review of the weekly
                                                                                                   disbursement projection schedule
                                                                                                   maintained by the Controller
                        Total Business Operations: S Grabish               8.40       $3,360.00
  Business Operations    10/29/2019 Altmark, Vlad              $ 450.00    0.80   $      360.00    Visit 2 locations to review
                                                                                                   operations and store layout;
                                                                                                   inventory floor plan
  Business Operations    10/29/2019     Altmark, Vlad          $ 450.00    2.10   $     945.00     Review location P&L
                                                                                                   performance. Review weekly
                                                                                                   sales history and discuss layout
                                                                                                   for 2019 forest with Stan G.
  Business Operations    10/30/2019     Altmark, Vlad          $ 450.00    0.50   $     225.00     WH walk through and inventory
                                                                                                   discussion with Dave and Stan
  Business Operations    10/30/2019     Altmark, Vlad          $ 450.00    1.50   $     675.00     Meeting with Stan and Cindy
                                                                                                   Gabriel to discuss business ops,
                                                                                                   store performance and FMG
                                                                                                   items to address as part of plan.
  Business Operations    10/30/2019     Altmark, Vlad          $ 450.00    0.40   $     180.00     Meeting with Dave to discuss
                                                                                                   observations from store visits on
                                                                                                   10.29
  Business Operations    10/31/2019     Altmark, Vlad          $ 450.00    1.10   $     495.00     Review store location lease
                                                                                                   schedules detail to prep for call
                                                                                                   with Matt to discuss lease
                                                                                                   reduction overview, approach
                                                                                                   and cost.
  Business Operations    10/31/2019     Altmark, Vlad          $ 450.00    0.40   $     180.00     Call with Matt and JA to discuss
                                                                                                   lease analysis project and send
                                                                                                   over lease schedule for review
                                                                                                   and quote.
                        Total Business Operations: V Altmark               6.80       $3,060.00
                        Total Business Operations                         15.20       $6,420.00

  Case Administration    10/22/2019     Grabish, Stan          $ 400.00    1.50   $     600.00     Review of the bankruptcy filings
                                                                                                   to determine stores identified for
                                                                                                   closure and critical vendors




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  Case Administration      10/29/2019     Grabish, Stan           $ 400.00    2.00   $      800.00     Review of the Company's Trial
                                                                                                       Balances run at date of filing.
                                                                                                       Conversion of reports from PDF
                                                                                                       to excel
  Case Administration      10/31/2019     Grabish, Stan           $ 400.00    3.50   $    1,400.00     Review of draft filings completed
                                                                                                       and updating excel templates to
                                                                                                       help organize compilation
                          Total Case Administration: S Grabish                7.00        $2,800.00

  Case Administration      10/23/2019     Altmark, Vlad           $ 450.00    2.40   $    1,080.00     Review filing docs for status of
                                                                                                       Company at time of filing and
                                                                                                       background info
  Case Administration      10/28/2019     Altmark, Vlad           $ 450.00    1.10   $      495.00     Review draft filings docs prepared
                                                                                                       by counsel. Note items that may
                                                                                                       be subject to change: Contracts,
                                                                                                       Prepaids, insider transactions and
                                                                                                       similar.
                          Total Case Administration: V Altmark                3.50        $1,575.00
                          Total Case Administration                          10.50        $4,375.00

  Financing                10/31/2019     Schwartzkopf, Juanita   $ 500.00    0.30   $      150.00     Call with secured lender,
                                                                                                       company and counsels to discuss
                                                                                                       cash collateral, DIP, timing, etc.
                          Total Financing: J Schwartzkopf                     0.30   $      150.00
  Financing                10/31/2019 Altmark, Vlad               $ 450.00    2.80   $    1,260.00     Discussion with Stan and prep
                                                                                                       template to use for DIP financing
                                                                                                       budget proposal. Assumptions
                                                                                                       write up and incremental sales
                                                                                                       assumptions to store
                                                                                                       performance from 2018 same
                                                                                                       period
  Financing                10/31/2019     Altmark, Vlad           $ 450.00    0.40   $      180.00     all hands call with Gabriel, PNC
                                                                                                       and counsel to review CF for w/e
                                                                                                       10/26 and discuss cash motion
                                                                                                       and DIP request
                          Total Finance: V Altmark                            3.20        $1,440.00
                          Total Finance                                       3.50        $1,590.00

  Travel                   10/28/2019 Grabish, Stan               $ 200.00    5.00   $  1,000.00       Atlanta to San Antonio
  Travel                   10/30/2019 Grabish, Stan               $ 200.00    5.00   $  1,000.00       San Antonio to Atlanta
                          Total Travel: S Grabish                            10.00     $2,000.00
  Travel                   10/28/2019 Altmark, Vlad               $ 225.00    2.50   $    562.50       Chicago to San Antonio
  Travel                   10/30/2019 Altmark, Vlad               $ 225.00    2.50   $    562.50       San Antonio to Chicago
                          Total Travel: V Altmark                             5.00     $1,125.00
                          Total Travel                                       15.00     $3,125.00

                          Total Fees                                         63.10       $23,730.00




              • Due Diligence Reviews • Crisis Management • Operations Integration • Asset Recovery • Interim Management
                  • Bank & Creditor Negotiations • Bankruptcies & Receiverships • Turnaround & Workout Management •
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                                                                                             CORPORATE HEADQUARTERS
                                                                                                      5001 W. Lemon St.
                                                                                                   Tampa, FL 33609-1103
                                                                                                          (813) 281-0062
                                                                                                      Fax (813) 281-0063
                                                                                                       www.focusmg.com




     FOCUS MANAGEMENT GROUP USA INC. FINANCIAL ADVISORS TO THE
                 DEBTORS AND DEBTORS-IN-POSSESSION
   DETAIL OF EXPENSES FROM OCTOBER 17, 2019 THROUGH OCTOBER 31, 2019

      Expense Type           Date         Name                  Expense     Description
      Lodging                10/28/2019   Altmark, Vlad     $     261.80    Two nights hotel stay
      Lodging                10/30/2019   Grabish, Stan     $     280.46    Two nights hotel stay
                                           Total Lodging         $542.26


      Meals - Breakfast      10/28/2019   Altmark, Vlad     $       6.36
      Meals - Breakfast      10/29/2019   Altmark, Vlad     $       8.73
      Meals - Breakfast      10/30/2019   Altmark, Vlad     $      14.75
      Meals - Dinner         10/28/2019   Grabish, Stan     $      59.00    w V Altmark
      Meals - Dinner         10/29/2019   Grabish, Stan     $      75.72    w V Altmark
      Meals - Dinner         10/30/2019   Altmark, Vlad     $      14.32
      Meals - Lunch          10/28/2019   Grabish, Stan     $      10.38
      Meals - Lunch          10/29/2019   Grabish, Stan     $      27.58    w V Altmark
      Meals - Lunch          10/30/2019   Altmark, Vlad     $      31.11    w S Grabish
                                            Total Meals          $247.95


      Travel-Air Fare        10/28/2019   Grabish, Stan     $      438.30   Atlanta to San Antonio
      Travel-Air Fare        10/28/2019   Altmark, Vlad     $      507.30   Chicago to Can Antonio
      Travel-Air Fare        10/30/2019   Grabish, Stan     $      226.98   San Antonio to Atlanta
      Travel-Air Fare        10/30/2019   Altmark, Vlad     $      113.50   Chicago to Can Antonio
      Travel-Cab/Limo Hire   10/28/2019   Altmark, Vlad     $       60.00   Home to airport
      Travel-Cab/Limo Hire   10/28/2019   Grabish, Stan     $       24.00   Home to airport
      Travel-Cab/Limo Hire   10/30/2019   Grabish, Stan     $       24.00   Airport to home
      Travel-Car Rental      10/30/2019   Grabish, Stan     $      222.10   3-day car rental
                                            Total Travel        $1,616.18



                                            Total Other             $0.00


      Communications         10/18/2019   Admin, Focus      $       8.48    Conference Calls. 57 Combined Minutes.
      Communications         10/22/2019   Admin, Focus      $      14.63    Conference Calls. 98 Combined Minutes.
      Communications         10/31/2019   Admin, Focus      $       9.36    Conference Calls. 62 Combined Minutes.
                                           Total Comms             $32.47



                                          Total Expenses        $2,438.86




        • Due Diligence Reviews • Crisis Management • Operations Integration • Asset Recovery • Interim Management
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                            EXHIBIT E




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

 IN RE:                                   § CHAPTER 11
                                          §
 GABRIEL INVESTMENT GROUP, INC.3, ET AL., § BANKRUPTCY NO. 19-52298-RBK
                                          §
 DEBTORS                                  § JOINTLY ADMINISTERED
 ______________________________________________________________________________

              SUMMARY OF FIRST INTERIM FEE APPLICATION OF
     FOCUS MANAGEMENT GROUP USA, INC., FINANCIAL ADVISOR TO THE
    DEBTORS AND DEBTORS IN POSSESSION FOR SERVICES RENDERED AND
               REIMBURSEMENT OF EXPENSES FOR THE PERIOD
              FROM OCTOBER 17, 2019 THROUGH JANUARY 31, 2020
 ______________________________________________________________________________

          THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO
          YOUR INTERESTS.

          IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY-ONE (21) DAYS
          FROM THE DATE OF SERVICE, THE RELIEF REQUESTED HEREIN
          MAY BE GRANTED WITHOUT A HEARING BEING HELD.

          A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

 Name of Applicant:                                  Focus Management Group USA, Inc.

 Date of Retention:                                  October 22, 2019, nunc pro tunc to
                                                     October 17, 2019

 Period for which compensation and
 reimbursement is sought:                            Period October 17, 2019 through
                                                     January 31, 2020

 Amount of Compensation sought as actual,
 reasonable, and necessary:                          $ 147,350.00

 Amount of Expense Reimbursement sought
 as actual, reasonable, and necessary:               $ 17,417.58

 This is a(n): _ monthly X interim            final application


          3
            The Debtors that are jointly administered are Gabriel Investment Group, Inc. [19-52298]; Don’s & Ben’s,
 Inc. [19-52299]; Gabriel Holdings, LLC [19-52300]; SA Discount Liquor, Inc. [19-52301]; and Gabriel GP, Inc. [19-
 52301]



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 Summary of Monthly Fee Applications Filed:

                                                    Requested                 Approved
  Date Filed         Period Covered              Fees     Expenses         Fees    Expenses
  12/19/2019     October 17, 2019 through    $23,730.00    $2,438.86    $18,984.00     $2,438.86
                 October 31, 2019

  12/27/2019     November 1, 2019 through    $61,350.00    $10,280.29   $49,080.00     $10,280.29
                 November 30, 2019

  1/3/2020       December 1, 2019 through    $29,380.00    $3,099.28    $23,504.00     $3,099.28
                 December 31,2019

  2/11/2020      January 1, 2020 through     $32,890.00    $1,599.15    $26,312.00     $1,599.15
                 January 31, 2020

                 Totals                      $147,350.00   $17,417.58   $117,880.00    $17,417.58



             SUMMARY OF TIME AND HOURLY RATES CHARGED BY
          FOCUS MANAGEMENT GROUP USA, INC. FOR THE PERIOD FROM
                 OCTOBER 17, 2019 THROUGH JANUARY 31, 2020

         Name of                  Position of the          Hourly        Total           Total
        Professional                Applicant           Billing Rate     Billed       Compensation
          Person                                         (including      Hours
                                                          changes)
  Juanita Schwartzkopf       Senior Managing           $500.00              16.50          $8,250.00
                             Director
  Vlad Altmark               Managing Director         $450.00              87.30        $39,285.00

  Stanley Grabish            Senior Consultant         $400.00             205.40        $82,160.00

  Michael Doland             Chief Operating Officer   $400.00               5.20          $2,080.00

  Travel Time (50%)
  Vlad Altmark-Travel                                  $225.00              23.00         $5,175.00
  Stanley Grabish-Travel                               $200.00              52.00        $10,400.00

  Grand Total:                                                              389.4       $147,350.00
  Blended Rate:                                                                             $378.40




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           COMPENSATION BY PROJECT SUMMARY FOR THE PERIOD FROM
                  OCTOBER 17, 2019 THROUGH JANUARY 31, 2020

                  Task Description            Total Billed         Total
                                                Hours           Compensation

  Business Analysis                                     207.4          $86,200.00
  Business Operations                                    31.0          $13,405.00
  Case Administration                                    45.1          $19,185.00
  Financing                                              22.4           $9,570.00
  Asset Disposition                                       3.3           $1,335.00
  Fee/Employment Applications                             5.2           $2,080.00
  Travel                                                 75.0          $15,575.00
  Grand Total:                                          389.4         $147,350.00

                    EXPENSE SUMMARY FOR THE PERIOD FROM
                    OCTOBER 17, 2019 THROUGH JANUARY 31, 2020

        Expense Category             Service Provider                  Total
                                      (if applicable)                Expenses
  Lodging                                                                    $4,901.81
  Meals                                                                      $1,701.55
  Miscellaneous                                                                $125.00
  Travel                                                                    $10,240.22
  Communications                                                               $449.00
  TOTAL                                                                     $17,417.58

                                         PULMAN, CAPPUCCIO & PULLEN, LLP
                                         2161 NW Military Highway, Suite 400
                                         San Antonio, Texas 78213
                                         www.pulmanlaw.com
                                         (210) 222-9494 Telephone
                                         (210) 892-1610 Facsimile

                                         By: /s/ Thomas Rice
                                             Thomas Rice
                                             Texas State Bar No. 24025613
                                             trice@pulmanlaw.com

                                             ATTORNEYS FOR DEBTORS    AND    DEBTORS-
                                             IN-POSSESSION




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